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EXHIBIT 15
Case 3:17-cv-00171-LAB-BLM Document 19-5

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METSCH & MASON, LLP

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Direct: 619-230-1642

Fax: 619-230-1839

Attomeys for Plaintiff
R CONSULTING & SALES, INC,

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ELECTROHICALLY FILED
Superior Court of California,
County of San Diego

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Clerk of the Superior Court
By Adam Beason, Deputy Clerk

SUPERIOR COURT OF CALIFORNIA

COUNTY OF SAN DIEGO, CENTRAL DIVISION

R CONSULTING & SALES, INC., a Nevada
corporation,

Plaintiff,

v.

PABLO GONZALEZ ULLOA, an individual;
AVIARRENDAMIENTOS §.A. DEC.Y., an
entity of unknown form and origin; and DOES

Case No. 37-2016-00021516-CU-8C-CTL

COMPLAINT FOR:

1) BREACH OF AGENCY
AGREEMENT;
2) BREACH OF LEASE;
3) CONVERSION;
.4) INTENTIONAL
MISREPRESENTATION (FRAUD);

1 through 10, AND
5) NEGLIGENCE
Defendants,
(IMAGED FILE|
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COMELAINT RCONS624t

Exhibit 15, page 1

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Plaintiff R CONSULTING & SALES, INC. (“R Consulting”) alleges as follows:
PARTIES

1, R Consulting is, and at all relevant times was, a Nevada corporation authorized to
do business in the County of San Diego, California. R Consulting is, and at all relevant times was,
the owner of the aircraft identified as a 1983 Gulfstream III Aircraft S/N G-1159A-388 and its
affixed two engines, bearing FAA Registration Number N388LR (the “Aircraft’).

2. R Consulting alleges on information and belief that Defendant Aviarrendamientos
S.A. de C.V (“Aviarrendamientos”) is, and al all relevant times was, an entity of unknown form
and origin doing business in the County of San Diego, California.

3. R Consulting alleges on information and belief that Defendant Pablo Gonzalez
Ulloa (“Ulloa,” and together with Aviarrendamientos, the “Defendants”) is, and at all relevant
times was, an individual residing in Mexico City, Mexico and doing business in the County of San
Diego.

4, R Consulting is the lessor of the Aircraft under a September 4, 2014 Aircraft Dry

Lease between R Consulting, on the one hand, and Aviarrendamientos and Ulloa as lessees, on the

other hand (the “Lease”). A true copy of the Lease is attached hereto as Exhibit “1” and

incorporated by this reference.

5. R Consulting is presently unaware of the true names or capacities of the defendants
sued as Does 1 through 10, inclusive, and therefore sues these defendants by such fictitious names.

R Consulting will seek leave to amend this Complaint to allege the true names and capacities of

Does 1 through 10 when it learns them.

6. R Consulting alleges on information and belief that Does 1 through 10 are in some
way responsible for the events and damages, along with the other defendants, alleged in this
Complaint. R Consulting further alleges on information and belief that, at all relevant times, each
defendant, including Does I through 10, was the agent, employee, partner, member, officer,
parent, subsidiary, alter ego, fiduciary or co-conspirator of the remaining defendants, and in acting
or failing to act as alleged, each defendant acted within the course and scope of its agency,

employment, partnership, membership or conspiracy, and with the knowledge and consent and

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. RCONS0242—

COMPLAINT

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1 |] under the direction and control of one or more of the remaining defendants. Unless specifically

2 || indicated otherwise, each reference to any named defendant or to “Defendants” or “defendants”

3 |) includes by reference all Doe defendants.

4 VENUE AND JURISDICTION

5 7. Venue is proper in this Court because the obligations and claims sued upon in this

Complaint were made and entered into, and were to be performed and were performed, in San

6
7 || Diego County, California.
8 COMMON ALLEGATIONS

9 8. During the term of the Lease, Sanchez purchased the Aircraft from R Consulting
10 } under a December 1, 2014 Aircraft Purchase Agreement (“Purchase Agreement”). A true copy of
11 {| the Purchase Apreement is attached hereto as Exhibit “2” and incorporated by this reference. The
12 | Purchase Agreement provided for a purchase price of $1,000,000 (the “Purchase Price”).

13 9. Because Defendants were in possession of the Aircraft, Defendants orally agreed
14 || within the last two years to act as R Consulting’s agent in connection with the sale and delivery of

{5 || the Aircraft to third-party, Jose Luis Sanchez (“Sanchez”) (the “Agency Agreement”), AsR

16 || Consulting’s agents under the Agency Agreement, Defendants agreed to receive the Purchase

17 || Price from Sanchez and deliver the Purchase Price to R Consulting upon their receipt of the

18 jj Purchase Price, which Defendants received in-full from Sanchez in December, 2014. As

19 #| consideration for the Agency Agreement, R Consulting agreed to terminate the Lease upon

20 || completion of both of the following: (1) Defendants’ delivery to Sanchez of the Aircraft; and (2)

21 || Defendants’ delivery to R Consulting of the Purchase Price.

22 10. Although Defendants delivered the Aircraft to Sanchez and have repeatedly

23 || acknowledged in writing receiving the Purchase Price in December of 2014 and owing the
24 | Purchase Price to R Consulting, Defendants have failed and refused to deliver the Purchase Price

25 || to R Consulting, despite R Consulting’s repeated demands.

26 11. Asaresult of Defendants’ failure to deliver the Purchase Price to R Consulting, the

27 || Lease remains in full force and effect. Defendants have failed to make the required Rent

28 || payments due to R Consulting under the Lease since January 1, 2015, with Rent accruing at the

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COMPLAINT RCONS0243

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rate of $73,900 per month, exclusive of the 10% late charges.

12. To date, in addition to the Purchase Price, Defendants owe R Consulting the
principal stm of $438,000 for their breaches of the Lease. Thus, as a result of Defendants’ actions
and omissions, R Consulting has sustained damages in the principal sum of $1,438,000, exclusive
of late charges due under the Lease, pre-judgment interest, costs and punitive damages.

VIRST CAUSE OF ACTION
(Breach of Agency Agreement—against all Defendants)
13. R Consulting incorporates by reference paragraphs 1 through 12 above as though

fully set forth herein.
14. R Consulting has fully and timely performed all of its legal obligations under the

Agency Agreement, except for those legally excused.

15. R Consulting alleges on information and belief that Defendants materially breached
the Agency Agreement by failing to deliver the $1,000,000 Purchase Price to R Consulting upon
their receipt of the Purchase Price from Sanchez. To date, Defendants owe R Consulting the sum
of at least $1,000,000, exclusive of pre-judgment interest and costs, according to proof at trial.

16.  Asadirect and proximate result of Defendants’ breaches, R Consulting has been
damaged in the sum of at least $1,000,000, exclusive of pre-judgment interest and costs, according

to proof at trial,
SECOND CAUSE OF ACTION

(Breach of Lease—against all Defendants)

17. R Consulting incorporates by reference paragraphs 1 through 12 above as though

fully set forth herein.
18. R Consulting has fully and timely performed all of its legal obligations under the

Lease, except for those legally excused.
19, _R Consulting alleges on information and belicf that Defendants materially breached

the Lease by failing to make the required payments under the Lease when due. To date,
Defendants owe R Consulting the sum of at least $438,000, exclusive of 10% late charges due

under the Lease, pre-judgment interest and costs, according to proof at trial.

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~ oO COMPLAINT

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|
1 20. Asa direct and proximate result of Defendants’ breaches, R Consulting has been
2 || damaged in the sum of at least $438,000, exclusive of 10% late charges due under the Lease, pre-
3 || judgment interest and costs, according to proof at trial.
4 THIRD CAUSE OF ACTION
5 (Conversion—against all Defendants)
6 21, -R Consulting incorporates by reference paragraphs | through 12 above as though
7 || fully set forth herein.
8 22, +R Consulting is informed and believes that Defendants intentionally and
9 || wrongfully converted the Purchase Price to their own personal use and benefit.
10 23. R Consulting is informed and believes that Defendants have exercised wrongful
11 || dominion or control over the Purchase Price, and R Consulting did not consent to Defendants use,
12 || interference or conversion.
13 24.  Asadirect and proximate result of Defendants’ acts of conversion, R Consulting !
14 || has been damaged in the sum of at least $1 ,000,000, exclusive of pre-judgment interest and costs,
15 || according to proof at trial.
16 25.  R Consulting is entitled to the imposition of a constructive trust over Defendants’
17 || assets in an amount equal to the Purchase Price, which amount is at least $1,000,000, exclusive of :
18 || pre-judgment interest and costs, according to proof at trial.
19 26, Defendants’ conduct was intended to cause injury to R Consulting, and was
20 || oppressive, fraudulent, and malicious, as defined by Civil Code section 3294, entitling R
21 |! Consulting to punitive damages, according to proof.
22 FOURTH CAUSE OF ACTION
23 (Intentional Misrepresentation (Fraud)—against all Defendants)
24 27,  R Consulting incorporates by reference paragraphs 1 through 12 above as though |
25 | fully set forth herein. :
26 28. ‘In or around December of 2014, Ulloa, acting individually and on behalf of
27 || Aviarrendamientos, represented to Lance Ricotta of R Consulting that Ulloa would deliver the
28 || Aircraft to Sanchez; take detivery of the Purchase Price from Sanchez; and deliver the Purchase
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COMPLAINT RCONS0245

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1 || Price to R Consulting upon receipt of the Purchase Price, as required under the Purchase
2 || Agreement (the “Representations”). Ulloa, acting individually and on behalf of
3 | Aviarrendamientos, made the Representations with the intent to defraud and deceive R
4 } Consulting.
5 29, The Representations were false, and Defendants knew that the Representations
6 || were false when they made them.
7 30. Defendants made the Representations with an intent to defraud and to deceive R
8 || Consulting, that is, for the purpose of inducing R Consulting to rely upon the Representations and
9 || to act or to refrain from acting in reliance on the Representations. Specifically, Defendants made
10 || the Representations to induce R Consulting to enter into the Agency Agreement and allow
11 || Defendants to take delivery of the Purchase Price from Sanchez.
12 31. Defendants knew that R Consulting did not know and could not reasonably .
13 || discover the true facts.
14 32. Atall times Defendants were making the Representations, R Consulting was
15 || unaware of the falsity of the Representations and believed them to be true.
16 33. BR Consulting reasonably and justifiably relied on the Representations of material
17 || fact and was induced to, and in reliance on and as a result of the Representations did, enter into the
18 || Agency Agreement and allow Defendants to take delivery of the Purchase Price from Sanchez.
19 34. Had R Consulting known the true facts, it would never have entered into the
20 || Agency Agreement. .
24 35. As adirect and proximate result of Defendants’ fraud and intentional
22 || misrepresentations, R Consulting has been damaged in the sum of at least $1,000,000, exclusive of
23 || pre-judgment interest and costs, according to proof at trial.
24 36. Defendants’ conduct was intended to cause injury to R Consulting, and was
25 || oppressive, fraudulent and malicious conduct as defined in Civil Code section 3294, entitling R
26 || Consulting to exemplary and punitive damages, according to proof al trial. i
27 iii . !
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COMPLAINT RCONS0246 |

Exhibit 15, page 6
Case 3:17-cv-00171-LAB-BLM Document 19-5 Filed 06/15/18 PagelD.399 Page 8 of 54

FIVTH CAUSE OF ACTION

(Negligence-—against all defendants)
37, R Consulting re-alleges and incorporates by reference paragraphs | through 12

above as though fully set forth herein.

38.  Atall relevant times, Defendants owed R Consulting a duty of care to disclose
material facts in connection with the Agency Agreement.

39, Defendants breached their duty of care owed to R Consulting by failing to disclose
that Defendants had negligently misrepresented and/or concealed the true facts from R Consulting
in connection with R Consulting entering into the Agency Agreement.

40, As a direct and proximate result of Defendants’ negligent misrepresentations and/or
failure to disclose the true facts to R Consulting, R Consulting has been damaged in the sum of at
least $1,000,000, exclusive of pre-judgment interest and costs, according to proof at trial.

PRAYER

WHEREFORE, R Consulting prays for judgment against Defendants, and each of them, as

follows:

ON THE FIRST AND FIFTH CAUSES OF ACTION:

1. For compensatory damages in at least the sum of $1,000,000, to be proven at trial.

ON THE SECOND CAUSE OF ACTION:

I, For compensatory damages in at least the sum of $438,000, exclusive of 10% late

charges due under the Lease, to be proven at trial.

ON THE THIRD AND FOURTH CAUSE OF ACTION:

1. For compensatory damages in at least the sum of $1,000,000 to be proven at trial;
and
2. For punitive and exemplary damages according to proof.
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COMPLAINT RCONS0247

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|
1 | ON ALL CAUSES OF ACTION: :
2 l, For costs of suit incurred in this action;
3 2. For pre-judgment interest at the maximum allowable legal rate; and
4 3. For such other and further relief as the Court deems just and proper.
5
6 || DATED: June 26, 2015 METSCH & MASON, LLP
7 <
. OOS ied
9 PAUL S. METSCH
MICHAEL J. MASON
10 Attomeys for Plaintiff R CONSULTING &
il SALES, INC.
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COMPLAINT RCONS0248

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EXHIBIT |

RCONS0249

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AIRCRAFT DRY LEASE

THIS AIRCRAFT DRY LEASE (“Lense”) is made as of September 4, 2014 (the
“Efeetive Date") by and between R Consulting and Sales Inc., a Nevada professional
corporation (“Lessor”) and Aviarrendamientos S.A, de CV. and Pablo Gonzalez Ulloa
("Lessee") (collectively, the “parties,” and individually a “party”).

In consideration of the representations, warranties and agreements hereinafer set forth,
the parties agree as follows:

I. Aireraft. Subject to the terms and conditions of this Lease, Lessor agrous to lease
to Lessee, and Lessee agrees to lease from Lessor, 0 1983 Gulfstream Hi Aircratl SAN G-11S9A-
388 and ity affixed Qwo engines, bearing FAA Registration Number N388LR, inchuding its

engines, avionics, instruments, accessories, and companent parts, including replacement parts
installed thereon (collectively, the “Aircraft”), Lessor represents and warrants { Lessee that if
owns, free and clear of any claim, encumbrance, restriction, or lien, all right, litle and interest to
the Aircraft: thacas of the Liffective Date, the Aireral has current hull insurance and liability
insurance for the Aircraft issued by insurance in the limit amounts sct forth below in Paragraph

10 ("Insurance Policy"); the Aircrafl has a valid Federal Aviation Adininistration (CFAA”)

regisinition.

The term of this Lease shall be for (3) months afler the Uffective Date
ither party aC ny time thirty (30) days after delivery of written
Payments must be current to terminate Lease to (he other party
") Lesses shall nol schedule use of the Airerali so that the trip
without the express prior wrilten agreemen| of Lessar,

2. Tern.
subject to earlier termination by ¢
notice (“Notice of Termination”)
to this Lease ("Termination Date
extends beyond the Termination Date
3. Security Deposlt, Upon the execution of this Lease by Lessor and Lessce,
Lessee shall deliver to Lessor a non-refundable first and Inst month security deposit and one
month security deposit of Two Hundred Ninetecn Thousand Dollars (U.S. $219,000) ("Security
Deposit"), which shall be held by Lessor as provided in this Lease, Lessee may pay the Security
Deposit by a wire as instructed in writing by Lessor or by check payable to Lessor.

s rental for the Airoraft ('Rent”) Seventy Three
see's use of the Aireraft, including for “Deadhead”

4. Rent, Lessee will pay Lessor a
fourth of every month, Late rent will be

Thousand Dollars ($ 73,000) per month of Les
legs. Lessee will pay Rent within five (5) days of the
charged at 10% of Lense Payment. .
. The Aircraft will be Maintained hy R Consulting & Sales,
_ whose principal place of Ontario, California, or such = NY

(‘Basc"). Lessor and Manager have entered
the

5. » Malatenan
Inc., 8 California corporation (“Manager”)

other location as the parties may agree in writing Ige
into a management agreement that Lessor represents and warrants to Lessee is in effect as of

Effective Date (the "Management Agreement’) pursuant to which Manager has agreed to
maintain the Aircraft at Lessor's approved maintenance facility; Lessor represents and warrants

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to Lessec that it shall maintain the Aircraft at its sole cost during the Term and if it replaces the
manager of the Aircraft during the Term, it shall promptly notify Lessee of such fact.

6, Return. Upon expiration or termination of the Term, Lessee will return the
Aircraft to the Base at San Diego Brown Field. Lessee will return the Aircraft to Lessor in the
same condition as received, normal wear and tear excepted,

7, Operation. The Aircraft is to be operated under this Lease in accordance with
Part 91, When the Aircraft is operated under this Lease, Lessee will at all times be in operational
control of the Aircraft and will not, except with Lessor’s prior written consent, assign this Lease
or sublease the Aircraft, and Lessee will be solely responsible for its possession and use, Lessee
will not use or operate the Aircraft in violation of any law, regulation or order of any
governmental authority, or in violation of the Aircraft’s airworthiness certificate, license or
registration, or in breach of any term or condition of any insurance policy required under this
Lease, or use the Aircraft in any area excluded from coverage by the terms of any insurance
policy required under this Lease. When the Aircraft is operated under this Lease, Lessee will, at
all times, employ or contract (through Manager or independently) for pilots to operate the
Aircraft who are duly qualified, current, and rated on the Aircraft and whose licenses are in good
standing, and who meet the standards established by the Federal Aviation Administration
(“FAA”) and by any insurance policy required under this Lease. Lessee will bear the cost of any
fees, charges or penalties arising out of Lessee’s operation of the Aircraft. Lessor will bear all
capital improvement costs for the Aircraft at lessors approved facility.

8, Maintenance. Lessor will at all times, at Lessor’s own expense, either through
Manager or otherwise, cause the Aircraft to be kept in a fully operational. Lessee is responsible
for consumables such as oils, hydraulic fluids, oxygen, nitrogen, ect while aircraft is in there
possession, Lessee shall not make alterations, modifications, additions or improvements to the
Aircraft without the prior written consent of Lessor. All alterations, modifications, additions and
improvements which are made become the property of Lessor and are subject to the terms of this
Lease.

9, Records, Lessee will maintain, or cause to be maintained, all Aircraft logs and
records related to Lessee’s use of the Aircraft under this Lease

10. Insurance. Lessor will at all times, at Lessor’s own expense, cause to be
maintained a policy or policies of insurance with premiums thereon fully paid in advance, issued
by and binding upon a solvent insurance company, identifying Lessor as the named insured and
sole loss payee under the aircraft hull, engine and property damage casualty insurance policy and \y4j
naming, among others, Lessee (and its affiliates, shareholders, directors, officers, employees, and
agents) and Manager as additional insureds under the general liability portion of such policy,
insuring against personal injury, death, hull damage or other property damage or loss arising out
of or in any manner occasioned by the act, omission or negligence of Lessor, Lessee, or
Manager, or their respective affiliates, owners, shareholders, directors, officers, employees, and
agents or invitees with respect to the custody, maintenance, use or operation of the Aircraft.
Lessor represents and warrants to Lessee that such Insurance Policy shall afford (a) adequate

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Exhibit 15, page 11

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aircraft hull, engine and other property casu

: ; alty insurance to satisfy Lessor in the event of the
destruction of lhe Aireraft: (b) include a bre

ach of warranty endorsement and a waiver of
subrogation, and (c) include aircraft liability insurance with a minimum combined single legal
tiability limit in the aniount of not less than Five Million Dollars ($5,000,000,00). Lessor shall
MUSE such Insurance Policy expressly to refer to, and shal! provide coverage with respect to,
Lessee’s indentnity undertaking as set forth in Section 12 below. Such Insurance Policy shall

provide tor at least thirty (30) days’ notice in writing to Lessee and Lessor before any
cancellation of such Insuranee P

cl olicy, and an original endorsement complying with the foregoing
provisions shall be delivered by Lessor to Lessee promptly after this Lease is executed as a
condition of this Lease,

U1. Loss or Damage. ‘This Lease may be terminated by cither party by reason of any
damage to or loss of the Aircraft and no Rent shall be due for any period after the occurrence of a
casualty loss of the Aircraft,

IR Indemnification. To the extent that Lessee’s indemnity undertaking herein is
covered by the Insurance Policy, Lessee agrees to indemnify, hold harmless and defend Lessor
and its mentbers, torether with the members, managers, officers, employees, agents, successors
and assigns of Lessor and of each such member of Lessor (each, an “Indemni tee”), from and
against any and all liabilities, losses, (including Lessee’s own loss of use), damages, penalties,
sanctions, fines, causes af action, Suits, claims (including, withaut limitation, claims involving
strict or absolute liability in tort, damage, injury, death, liability and third party claims),
demands, costs and expenses of every nature (collectively, “Claims”), arising directly or
indirectly from or in connection with Lessee's use or operation of the Aircraft, or any default in
the performance of Lessee's other obligations under this Lease, or any failure by Lessee to
comply with applicable law, or any unlawful or negligent act or omission by Lessee, except to
the extent any such Claims arise out of, result from or relate to the negligence, breach of contract
or failure to comply with any applicable law on the part of such Indemnitee, Lessee's
obligations under this paragraph will survive termination of this Lease and will remain in effect
until all indemitity payments required hereunder have been made by Lessee,

13. Taxes. Lessor shall be responsible for any State sales, use or other tax and shall
pay such taxes to the appropriate taxing authority related to this Lease. Lessor shalt also be
responsible for filing personal tax owed on or for the Aircraft; provided, however, that Lessee
shail pay all taxes and other charges associated with Lessee's use of the Aircraft under this
Lease, including, without limitation, landing Fees, fuel taxes and any
may be assessed against a specific fight by Lessee, In case any
made by Lessee with respect to any taxes, Lessee will cither (aft
report or return in such manner as will show the ownership of the Aircraft in Lessor and send a
copy of such report or return to Lessor, or will notify Lessor of such requirement and make such \
report or return in such manner as will be satisfactory to Lessor. Lessor and Lessee agree ta
cooperate fully with each other in the preparation of any such report or retum. WV

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other charges or fees that
Tepart or retum is required to be
er notice to Lessor) make such

14. Liens. Lessee will not directly or indirectly create, incur,

assume or permit the
existence of any liens on the Aircraft related to Lessee’s use or operation

of the Aircraft and

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Lessee will promptly, at Lessee’s own expense, take such action as may be necessary duly to
discharge any such lien.

15. Inspection. Lessor or its designee has the right, but not the duty, to inspect the
Aircraft at any reasonable time and upon reasonable notice, in flight, or wherever the Aircraft
may then be located. Upon Lessor’s request, Lessee will advise Lessor of the Aircraft’s location
and will furnish Lessor with all logs and records in Lessee’s possession regarding the Aircraft
and its use, maintenance or condition.

16. Lessee’s Default, Each of the following events shall constitute an “Event of
Default” hereunder:

(a) Lessee fails to make payment of Rent within five (5) days after the same
becomes due; or

(b) —_ Lessee fails to pertorm or observe any covenant, condition or agreement to
be performed or observed by Lessee under this Lease: or

(c) Lessee becomes insolvent; or

(d) Lessor believes, in good faith, that the prospect of payment or Lessee’s
performance under this Lease is uncertaia of impaired.

17. Lessor’s Remedies. Upon the occurrence of any Event of Default, Lessor may,
in its sole discretion, elect: .

(a) _ By notice in writing, to terminate this Lease, whereupon Lessee will,
without further demand, forthwith return the Aircraft to Lessor as required under Section 6, and
pay all accrued and unpaid amounts due under this Lease; or

(b) To perform or cause to be performed any obligation, covenant or
agreement under this Lease, Lessee agrees to pay all costs and expenses incurred for such
performance and acknowledges that such performance shall not be deemed to cure said Event of

Default; or

(c) To initiate proceedings against Lessee for any ather remedy available to
Lessor whether at law or in equity. \

Lessee will be liable for all costs, charges and expenses, incurred by Lessor by
reason of the occurrence of any Event of Default or the exercise of Lessor's remedies hereunder, ww

No remedy is intended to be exclusive, but each will be cumulative and in
addition to any other remedy referred to above or otherwise available at law or in equity, The
failure or delay of Lessor in exercising any rights granted under this Lease upon any occurrence
of any of the contingencies set forth above shall not constitute a waiver of gay such right.

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18. ounterpurts, Electronic Notices, and Signatures, This Lease may be
executed in any number of counterparts, each of which when so executed and delivered shall be
devmed an original, and such counterparts together shall constitute only one instrument.
Electronic signatures shall be binding and effective as an original. This Lease shall be effective
as of the date specified on the first page hereof, notwithstanding the uctual date of execution of
any of the counterparts hereof, Any one of such counterparts, or any true, complete and correct
copy thereof, shall be sufficient for the purpose of proving the existence and terms of this Lease,
and no party shall be required to produce an original or all of such counterparts in making such
proof, Notices to be given under the terms of this Lease shall be delivered in writing and may be
delivered by (1) electronic communication, provided electronic mail is confirmed as received by
the recipient; (2) personally; (3) by overnight courier, or (4) by certified mail, return receipt
requested, postage prepaid, addressed as provided on the signature page or to such replacement
address as may subsequently be provided in writing by one party to the other, and shall be
deemed to have been delivered in the case of an email, on the next business day if delivered after
5 PM te the location to which it is sent or the email is received, respeotively; in the case of
mailing, two (2) business days after being mailed: and in the case of personal delivery, upon
actual delivery or the intended recipient’s refusal to accept delivery.

19. Entire Agreement, The terms and conditions of this Lease constitute the entire
agreement between the parties with respect to the subject-matter of this Lease and supersede al}
prior written and oral negotiations, representations and agreements, if any, between the parties
with respect to such subject-matter, and will be binding upon them, their successors, assigns and

legal representatives.

20. odificati r . No change or modification or waiver of any term
or condition of this Lease will be effective unless the change or modification is in writing and
signed by the party to be charged.

21. Governing Law. The parties acknowledge that this Lease and the enforcement

thereof will be governed by and construed and enforced in all respects in accordance with the
laws of the County of San Diego, State of California, without reference to its conflicts of law

rules,
22, Right to Pay Expenses, Lessor will have the right, but not the obligation, to pay

any costs or expenses that Lessee is obligated to pay under any provision of this Agreement, and
Lessee shall, promptly upon its receipt of a request therefor from Lessor, reimburse Lessor for all

amounts so paid by Lessor.

23, ruth-tn- ing.
(a) LESSOR HAS REVIEWED THE AIRCRAFT'S PRECEDING
EXECUTION OF THIS LEASE. WW

LESSEE CERTIFIES THAT LESSEE, AND NOT LESSOR, IS
OPERATIONAL CONTROL OF THE AIRCRAFT UNDER THIS
DDRESS APPEARS ON THE SIGNATURE PAGE HEREOF, LESSEE

(b)
RESPONSIBLE FOR
LEASE, LESSEB’S A

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FURTHER CERTIFIES THAT LESSEE UNDERSTANDS LESSEE’S RESPONSIBILITY
FOR COMPLIANCE WITH APPLICABLE FEDERAL AVIATION REGULATIONS,

(c) | LESSOR AND LESSEE CERTIFY THAT THE AIRCRAFT WILL BE
MAINTAINED AND INSPECTED AS PROVIDED HEREIN UNDER PART 91 OF THE
FEDERAL AVIATION REGULATIONS AND, AT THE MINIMUM, IN ACCORDANCE
WITH THE MANUFACTURER’S RECOMMENDED INSPECTION MAINTENANCE
PROGRAM FOR THE AIRCRAFT WHEN OPERATED UNDER THIS LEASE. LESSEE
FURTHER CERTIFIES THAT LESSEE UNDERSTANDS LESSEE’S RESPONSIBILITY
FOR COMPLIANCE WITH PART 91 AND OTHER APPLICABLE PROVISIONS OF THE
FEDERAL AVIATION REGULATIONS.

(d) | LESSEE UNDERSTANDS THAT AN EXPLANATION OF FACTORS

BEARING ON OPERATIONAL CONTROL AND PERTINENT FEDERAL AVIATION
REGULATIONS CAN BE OBTAINED FROM THE NEAREST FAA FLIGHT STANDARDS

DISTRICT OFFICE.
W\.

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(e) THE PARTIES HEREBY CERTIFY THAT A COPY OF THIS LEASE
WILL BE CARRIED ON THE AIRCRAFT AT ALL TIMES, AND WILL BE MADE
AVAILABLE FOR INSPECTION ON REQUEST BY AN APPROPRIATELY
CONSTITUTED AND IDENTIFIED REPRESENTATIVE OF THE FAA.

IN WITNESS WHEREOF, the parties hereto have each caused this Lease to be duly
executed effective as of the Effective Date.

LESSOR: LESSEE:
R Consulting and Sales, Inc, Aviarrendamientos 8.A. de C.V..,
a Nevada professional corporation Pablo Gonzalez Ulloa

An individual

Ww

By v -

Name: Name RHAD GOOCAEZ- UNO .
Title: Title: _QQEDN :

Mailing Address: Mailing Address:

R Consulting and Sales, Inc. Pablo Gonzalez Ulloa.

318 N Carson st STE 208 Address

Carson City, NV 89701 Indiana 141 Napoles

Mexico, DF. 03810
Email: skywonders@aol.com

Email: pgu@arm.aero

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EXHIBIT 2

RCONS0257

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AIRCRAFT PURCHASE AGREEMENT

THIS AIRCRAFT PURCHASE AGREEMENT (THIS "AGREEMENT’) IS MADE THIS 17) DAY OF DECEMBER, 2014 BY
AND BETWEEN R CONSULTING & SALES. INC. 318. N CARSON SIL, SUITE 208. CARSON CITY NV 89701, __E-
MAIL; skywonders@acl com, PHONE: (760) 809-45-86 (“SELLER AND_ JOSE LUIS SANCHEZ -
MAIL: joseluissanchez 1 88@yahoo.com —, PHONE: (__)__ ss (/ PURCHASER" AND WITNESSETH:

WHEREAS, SELLER AND PURCHASER PREVIOUSLY EXECUTED A LETTER OF INTENT (THE “LETTER OF
INTENT TO PURCHASE’) THE GULFSTREAM II AIRCRAFT DESCRIBED BELOW (THE “AIRCRAFT’} EXECUTED
DECEMBER 1, 2014 PROVIDING FOR, AMONG OTHER THINGS, A PRE-PURCHASE INSPECTION OF THE

AIRGRAFT AND RECORDS;

WHEREAS, PURSUANT TO THE OFFER TO PURCHASE, THE AIRCRAFT HAS BEEN DELIVERED BY SELLER TOA
FACILITY DESIGNATE BY PURCHASER FOR ACCOMPLISHMENT OF THE PRE-PURCHASE INSPECTION; AND

WHEREAS, THE LETTER OF INTENT CONTEMPLATES THE EXECUTION OF AN AIRGRAFT PURCHASE
AGREEMENT AND THE PARTIES INTEND THIS AGREEMENT TO FULFILL THAT CONTEMPLATION.

NOW THEREFORE, SELLER AND PURCHASER HEREBY AGREE AS FOLLOWS:

1. Agreement to Purchase: Seller agrees to sel and purchaser agrees lo purchase the aircrafl specified below
subject to the terms and conditions sel forth befow and attached herein (and by this reference made a part hereof),

YEAR MODEL _ FAA NUMBER AIRCRAFT SERIAL NUMBER ENGINES
1983 Gulfstream Hl N3seLR 388 Rolls Royes Spey
Mk B115R
Specifications: TOTAL SELLING PRICE $1,000,000 | 00

Sallar represents that the Aircraft has the
specifications set forth in Appendix 1 hareto. TOTAL SALE $7,000,000 | 00

~

TOTAL CREDIT TO SALE 6
CASH DUS $1,009,000 | go i
2. Payment: The Aircraft will be sold for cash, payable on the date of Closing (as hereinafter defined) and by
delivery of lawful money of the United States of America by wire transfer to R Consulting & Sales Inc,
3. Pre-Purchase inspection Buyer has executed and Is satisfied with his own pre-purchase inspection,
4. Failure to Clase or Accept Delivery: Purchaser accepts and takes delivery of aircraft upon execullon of this
purchase agreement,
5. Force Majeure: Seller shall not be liable for labor difficullies, machinery breakdowns, inability to obtain shipping
Space or transportation, delays of cariers or suppliers, fires, foods, acts of God, or other oulbreak of hostilities,
mobilization, civil commotion, riots, embargoes, and domestic or foreign govemmental regulations or orders (each q
"Farce Majeure Event") or should the Aircraft be destroyed or damaged beyond repair before or after Closing.
6. Closing. The closing (the “Closing”) on the Aircraft will lake place on or before three (3) business days after the

Alnworthiness Discrepancies are completed.

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Purchaser's Indals Date = 14

Seller’s Initials Date

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%. Closing, Tile and Delivery: On or prior to the Closing Date, Purchaser shall ()} wire the remaining portion of the
Purchase Price to the Escrow Agent, together with amounts sufficient to pay all taxes pursuant ta Paragraph 10
hereof, the filing fees ta file for the Registration (as hereinafter defined} and the FAA Bill of Sala (as hereinafter
defined) with the FAA, and the Delivery Costs (as hereinafter defined), (if) deliver to the Escrow Agent an original
cornpleted and executed application for registration of the Aircraft with the FAA (the “Registration’), and (il) deliver
to Escrow Agent an executed escrow agreement authorizing the release of the Purchase Frice and filing of the
Registration and FAA Bill of Sale upon satisfaction of the terms of this Paragraph 8. On or prior to the Closing
Date, Seller shall (i) deliver to Ihe Escrow Agent two (2) ariginal executed Federal Aviation Administration Bill of
Sale Forns 8050-2 In the form attached hereto as Appendix 3 (the “FAA Bill of Sate’), (i) dellvar to Escraw Agant an
original executed Warranty Bill of Sale to the Aircraft in the form attached hereto as Appendix 4, and (ii) deliver to
Escrow Agent an executed escrow agreement authorizing the release of the Purchase Price and fling of the
Registration and the FAA Bill of Sale upon satisfaction of the terms of thls Paragraph 9. The Alrcraft shail be
delivered for closing in or at Purchaser's expense to some other mutually agreeable location within the continental
United States (the “Delivery Location’), which shall not give rise to adverse tax consequences for the parties.
Purchaser shall pay Seller's reasgnable out-of-pocket cost for fuel, pilot travel and the pilots dally rate if other than
Sellars own pilots (not to exceed $500.00 per pilot) to ferry the Aircraft from to ihe Delivery Location (collectively,
the “Delivery Costs"). On the date of Closing, the parties shall close on this transaction once it has been verified by
the Escrow Agent that (1) Escrow Agent has received ail deliveries required by the Purchaser, (i) Escrow Agent has
recelved all deliveries required by the Seller, (ii) the Aircraft Is in position at the Delivery Location, and (ly)
Purchaser has accepted delivery of the Alreraft by executing and delivering to Seller the Dellvery Receipt in a forn
substantially the same as Appendix 2 attached hereto and incorporated herein. At the fme of Closing the Escrow
Agent shall simultaneously: i} release to Seller the Purchase Price lass any broker commissions to be pald by
Seller, any toan payoff and the escrow fees due to Escrow Agerit: fi) release the Delivery Costs to Seller, (ili) file the
Registration and the FAA Bill of Sala with the FAA, and (iv) release the Warranty Gill of Sale to Purchaser,

Title to the Aircraft free and clear of all lens and encumbrances and risk to the Aircraft shall pass to Purchaser on the date
of Closing. Seller will maintain full insurance coverage on the Aircraft until (he risk of loss passes to Purchaser at Closing.

Taxes: Purchaser agrees to pay and to indemnify Seller for all sales and use taxes of assessments which may be
Imposed by any governmental authority upon this sales transaction or the use of the Alroraft by Purchaser, and any
such taxes or assessments which Seller will be obligated under law to collect from Purchaser, Except as provided
hereln, Seller agrees to pay and to indemnify Purchaser for ail taxes, fees or duties and expenses, as well as any
penalties, interest and attorney's fees, imposed by any Jurisdiction or governmental authority as a result of the
ownership, location or usage of the Aircraft prior lo the Closing Date/Delivery Time and all taxes on profits, gross
recelpts or income of Seller applicable to or arlsing out of the transactions contemplated by this Agreement, Prior
to the payment of any assessment for which Purchaser or Seller desires to seek indemnification from ihe other
party hereunder, the parly desiring indemnification shail provide the other party with five (5) business days prior
written notice of the same. The indemnified party shall allow the Indemnifying party to dispute any such

assessment and shall cooperate reasonably in regard thereto.

DISCLAIMER: BUYER UNDERSTANDS THAT THE AIRCRAFT IS BEING PURCHASED IN AN "AS 1S,
WHERE IS" CONDITION EXCEPT AS PROVIDED ABOVE TO THE CONTRARY. UNLESS OTHERWISE
PROHIBITED BY LAW AND THIS AGREEMENT, BUYER AGREES THAT THE WARRANTIES OF SELLER
SET FORTH IN THE FOLLOWING PARAGRAPH ARE EXCLUSIVE AND IN LIEU OF ALL OTHER
WARRANTIES OF SELLER, WHETHER WRITTEN, ORAL OR IMPLIED, OTHER THAN THE EXPRESS
WARRANTIES OF TITLE SET FORTH IN THE WARRANTY BILL OF SALE. BUYER ACKNOWLEDGES AND
AGREES THAT SELLER SHALL NOT, BY VIRTUE OF HAVING OWNED AND SOLD THE AIRCRAFT OR
OTHERWISE, BE DEEMED TO HAVE MADE ANY REPRESENTATIONS OR WARRANTY AS TO THE
MERCHANTABILITY, FITNESS, DESIGN OR CONDITION OF, OR AS TO THE QUALITY OF THE MATERIAL
OR WORKMANSHIP IN, THE AIRCRAFT, OR TO HAVE MADE ANY OTHER REPRESENTATIONS OR
WARRANTIES. SELLER DISGLAIMS AND BUYER WAIVES ALL WARRANTIES AND LIABILITIES,
EXPRESS OR IMPLIED, ARISING BY LAW OR OTHERWISE (INCLUDING STRICT LIABILITY IN TORT),
WITH RESPECT TO THE MERCHANTABILITY, FITNESS, DESIGN OR CONDITION OF, OR AS TO THE
QUALITY OF THE MATERIAL OR WORKMANSHIP IN, THE AIRGRAFT.

8

WARRANTY: Seller warrants that all representations and warranties in this Agreement are true and correct in all
material respects as of the contract acceptance date on the front page of this Agreement and will be true and i
correct as of the date of Closing. Seller warrants that, at closing, ft will have good, marketable title and possession

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Purchaser’s Initials Date pet

Seller's Initials , DOS sme mennne

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of the Aircraft, including the engines, free and clear of all liens, claims, demands and encumbrances, which title
Seller will-corvey to Purchaser. Purchaser and Seller warrant that each has the authority to enter into this
transaction under its articles of incorporation and the applicable law of the state of ils Incorporation.

41. Assignments of Programs and Warranties: Seller hereby assigns to Purchager (to the edent assignable}, ag of
the date of Closing, ail of the rights, warranties, representations, covenants, and indemnities made to Seller by ar
which Seller is entitled to enforce against any predecessor in title to the Aircraft or from the Aircraft manufacturer, If
any. Seller agreés to assist Purchaser, al Purchaser's sole cost and expense, In efiforcing or arranging for the
enforcement by appropriate parties for Purchaser's benefit, at Purchaser's sole cost and expense, all such rights,
warranties, representations, covenants and indernnities, including transfer to Purchaser at Giosing of any other third
parly service or maintenance agreements. However, Purchaser shail pay any costs related to the transfer of such

warranties and programs,
12, Acceptance Flight’ Shall nat exceed two (2) hours with Sellers Pilot in Command as captain during the flight and

the Purchaser may provide a qualified co-pilot for such Acceptance Flight, The Acceptance Fight may be combined
with the ferry flight to transport the Aireratt to the location of the final Delivery.

Applicable Law: This Agreement shall be construed and Interpreted under the laws of the State of California in the

13.
County encampassing the City of San Diego.

14. Enforceability: In the event any provision of this Agreement {s prohibited by or invalid under applicable law, such
provision shail be Ineffective only to tha extent of such probibition or invalidity, without affecting the remalning

provisions of this Agreement which shall continue in full force and effect.
Survival: The covenants, agreements, representations and waranties hy Seller shall survive the Closing of this
transaction,

Cooperation: Each party shail execute and deliver all such documents as may reasona bly be requested in order to
implement the intent and purposes of this Agreement, and shall cooperate reasonably in carrying out the Closing,

15,

16,

17. Broker's Commissions: Seller shall be responsible for payment of a commission due to its broker, if any,
Purchaser has not engaged any broker. Seller does hereby agree to Indernnify and defend Purchaser and hold
Purchaser harmless from any and all commissions, claims to such commisslons or similar fees, including atlomeys'
fees incurted in any lawsuit regarding such commission or fees to Broker, or any other broker to the extent such
claims or liabilities are by any broker claiming by, through or under Seller and are based upon the actions of Seller,
Purchaser does hereby agree to indemnify Selles and hold Seller harmiess from any and all commissions, claims to
such commissions or similar fees, including attomeys’ fees incurred in any lawsuil regarding such commission or
fees, to the @xtent such clainis or liabilities are by any broker claiming by, through or under Purchaser and are based

upon the actlons of Purchaser,
Non-Disclosure: The material terms and conditions set forth in this Agreement may not be distlosed in any
fashion, either in whole or In part, to any third party (excluding governmental authorities and the disclosing party's

legal counsel, financial institution, accountants and other relevant personnel with @ need to know) unless In
connection with enforcement of the terms hereof or untess the parly desiring to make such disclosure first ablalns

the express written approval of the other party.

18,

Litigation Expenses: If litigation is instituted to enforce this Agreement, the prevailing party shall be awarded Its
reasonable attorney's fees incurred and all reasonable litigation costs, Including depositions, expert witness fees,
photographic expense, witness travel and lodging expanse and all court costs.

73.

Agreement Assignment: Neither party may assign ils rights, interests or obligations under this Agreement without

20.
the prior written consent of the other party,

International Registry: Purchaser and Seller agree to timely register, and to cause their lenders and/or lessees, if
any, to timely register, as users of the International Registry established pursuant to the Cape Town Convention on
intemational Interests In Mobile Equipment and the Protocol ta tha Convention on International interests i Mobile
Equipment on Matters Specific lo Aircraft Equipment (collectively the “Cape Town Treaty") and to make, or cause to
be made all filings and consents to filings required to perfect Purchaser's ownership interest, and the lien hold
Interest of Purchaser's lender, in the Aircraft pursuant to the Caps Town Treaty, concurrent with the Closing.

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Purchaser's Initials }} Date. ae }4

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Seller's Initials Date

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Intemational Registry: Purchaser and Seller agree to limely register, and to cause their lenders and/or lessees,
if any, to timely register, as users of tho International Registry established pursuant to the Cape Town Convention
on International Interests in Mobile Equipment and the Prolocol to the Convention on International Interests in
Mobile Equipment on Matlers Specific to Alrcraft Equipment (collectively the “Cape Town Treaty") and to make, or
cause to be made all filings and consents to filings required to perfect Purchaser's ownership interest, and the lien
hold interest of Purchaser's lender, in the Aircraft pursuant to the Cape Town Treaty, eancurrent with the Closing,
Purchaser shall pay for all costs associated with ragistering Purchasers and Purchaser's lender's International
Interests, inclucing’but not lirnited to registering Purchaser and Purchaser's iander as a Transacling User Entity,
filing fees for filing Purchaser's and Purchaser's lenders international Interests in the airframe and engines, and
fees associated with searching the International Registry prior to. and after registration of Purchaser's and
Purchaser's lender's International Interests. Seller shall be required to pay its own costs related lo registering :

Seller as a Transacting User Entity on the International Registry.
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23. Counterparts: This Agreement may be executed In counterparts, each when read together constituting a binding
agreement on the partias. E-mailed signatures will have the full force and effect of original signatures.

Entire Agreement: This Agreement conslilutes the entire agreement of the partles hereto with respect ta the
purchase and sale of the Aircraft: all prior representations and understandings having been merged herein. This
Agreement may not be modified or terminated orally. No claimed modification, termination or waiver or any of the
provisions of this Agreement shail be valid unless in writing signed by the parly to be hound thereby. The terms
and conditions hereof supersede and cancel any terms contained in any other documents, This Agreement

becomes a binding contraci when it is signed by both parties hereto.

24.

IN WITNESS WHEREOF, the undersigned have caused this Agreement to ba duly executed by their authorized officers as
of the date and year first above mentioned, °

SELLER: R Consulting & Sales, Inc. PURCHASER i

ae rs RNY er
By: SoS
Name: Jose Luls Sanchez Tile? Indivduat
Address: 1150 Lee Wagener Bivd, Sulte 203
City/State/__ Fort Lauderdate, Florida 33315

By:
Name! Raquel Michel Tite: President

Address; ___ 318 N Carson St. Suite 208
City/State/Zip: Carson City, Nevada 89704

Phone; (760) 805 4566 Phone;
Seller's Inidals_ Dale | Parctaser's Initials Ad. Dale 1-1: 4
, RCONS0261

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APPENDIX 1

”

SPECIFICATIONS

since mid-ife, No Damage, Good P&l, Factory Maintenance Program, CMP

Landings,

Max Ramp. 70,200 Lbs
Meant Take-off, 69,700 Lbs

Engina Specs:
ROLLS ROYCE SPEY MKC 611-8

APU-Allled Signal GTCP 36-100 G-APU
s/n 4400

Avionics/Radios:
Speny SPZ 800 Auto-Pllat

HNYWL Primus 880 Radar

Dual Collins FD-109 F.0D,

Alfled Signal TGS li W/CH?

Dual Collins VHF 220 Comms

Universal UNSIK FMS

Qual Collins VIR 30 NAVS

Universal UNS 1K GPS

Dual Collins ADF-60 ADF

Dual Litton 92 INS we
Dual Collins DME-42 DME

Collins ALT 558 Radar ALT WIVTA

Dual HNYWL RGZ&S2 XPNDR

Universal Class A EGPWS

Dual Collins 677 URN/SEL H.-F.

Additional Equipment:
AFT Lavatorle

AFT Galley

Convection Oven
Microwave Oven

Three Cabin Monitors
Panasonic DVO Player
Sony VCR

10 Disc CD Player :

OTHER OPTIONS:

Fairchild A-100 CVR
RVSM Approved

n |
Purchaser's Initials dhe Date 44 ): 4

Seller’s Initials Date

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Provisions for FOR °
8.33 Spacing

FM Immunily
Gulfstrearn Camp

Exterior: |
Overall While w/ Black Main Stripes

Interior;
12 Passenger Ten Individual Chaits, Three Place Divan, Chairs Baige Leather, Divan Beige and Tan Fabrics, Carpet Brown

Sculptured. Heacliner in Sand Ultra, Cabinetry and Wood Trim in Dark Burt,

Inspection Status:
On Factory Recommended Maintenance, Camp Maintenance Records.

Fresh 12, 24, & 72 Mo, and 5000 Cycle Inspections and Fresh Landing Gear 0.1.

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Date Purchaser’s Initials LE pate | ty “4

Seller's Initials

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APPENDIX 2

DELIVERY RECEIPT

delivery on this FIRST day of December_, 2014, of the following Aircraft:

Year/Model: 1983 Gulfslream IH
Serial Number: 388
Registration 7: N388LR

Aircraft Total Timea:

Total Engine Hours-Left:

Total Engine Hours-Right:

Delivery of the Gulfstream III has been made to Purchaser at:

(Facility),

(City and State)
complete with all logbooks and equipment (as outlined on the Schedule A to the Agreement), as well as all

spare or loose equipment associated with the Aircraft.

Purchaser has visually examined the Aircraft and completed a Pre-purchase Inspection as defined in the Terms
and Conditions to the Aircraft Purchase Agreement, and hereby accepts delivery of the Alrcraft under terms and
conditions of the above referenced Agreement. As of this date, Purchaser further accepts the Airoralt "As Is,

Where Is,” with all fauits.
Agreed and Accepted By Purchaser:

Signed By: ZL es
Name: |
Title:
|
Seller's Initials Date | Purchaser's Initials NAL Date_|t i Ie! |

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B FORM
APPENDIX 3 APPROVED

OMB NO, 2120-0042

UNITED STATES OF AMERICA

U.S. DEPARTMENT OF TRANSPORTATION FEDERAL AVIATION ADMINISTRATION

. AIRCRAFT BILL OF SALE
FOR AND IN CONSIDERATION OF § 1.00 + 0.v.c. THE UNDERSIGNED
OWNER(S) OF THE FULL LEGAL AND BENEFICIAL TITLE OF THE AIRCRAFT
DESCRIBED AS FOLLOWS:
UNITED STATES
REGISTRATION NUMBER N388LR
AIRCRAFT MANUFACTURER & MODEL

Gulfstream I
AIRCRAFT SERIAL No,
388
DOES THIS DAY OF _ DECEMBER 2014 , HEREBY SELL,
GRANT, TRANSFER AND DELIVER ALL RIGHTS, TITLE, AND INTERESTS IN Do Not Write in This Block
AND TO SUCH AIRCRAFT UNTO: FOR FAA USE ONLY
NAME AND ADDRESS
(IF INDIVIDUAL (8), GIVE LAST NAME, FIRST NAME, AND MIDDLE INITIAL)
Sanchez, Jose L
PUR
GHA
SER
DEALER CERTIFICATE
NUMBER
AND TO EXEGUTORS, ADMINISTRATORS, AND ASSIGNS TO HAVE AND TO HOLD
SINGULARLY THE SAID AIRCRAFT FOREVER, AND WARRANTS THE TITLE THEREOF.
IN TESTIMONY WHEREOF ___ HAVE SET HAND AND SEAL THIS DAY OF 2014,
NAME (S} OF SELLER SIGNATURE (5) TITLE
(TYPED OR PRINTED) (IN INK} (IF EXECUTED FOR (TYPED OR PRINTED)
CO-OWNERSHIP, ALL MUST SIGN.)
R Consulting & Sales, Inc.
SEL
LER
ACKNOWLEDGEMENT (NOT REQUIRED FOR PURPOSES OF FAA RECORDING: HOWEVER, MAY HE REQUIRED
BY LOCAL LAW FOR VALIDITY OF THE INSTRUMENT.)
ORIGINAL TO FAA
AC Form 8050-2 (9/92) (NSN 0052-00-629-0003) Supersedes Previaus Edition
1
Seller's Initials Date Purchaser's Initials 4_/ pate J. {2=]¢
~ RCONS0265

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WARRANTY BILL OF SALE

APPENDIX 4 |

(hereinafter “Selier’), in consideration of the sum of one dollar ($1.00) plus other good and valuable consideration paki by
(hereinafter "Purchaser’), receipt of which is hereby acknoydedged, pursuant and subject fo an Acrafi Purchase Agreement between
Seller and Purchaser, dated December 1°, 2074, (the "Agreement’), hereby sells, grants, assigns, transiers and delivers lo Purchaser,
its successors and assigns, ali right, fille end Interest In and to the Alreraft deserbed as: 1) 1983 Gulfstream Ill, bearing FAA Registration
N3a8LR and manufacturer's serial number 388; 2) two (2) engines, respectively bearing manufacturer's serlal numbers 3) all Airoralt
records; and 4) other equipment of vehatevar natura Ingta¥ed on the Alrcraft as set forth in the Agreement and as may be more fully set
forth in Appentix 1 thereof, those Herns set forth ar as provided in 1), 2) and 3) above being hereinafter callactively referred to as
“Alreralt*

Seller hereby represents and warrants fo, and agrags with, Purchaser, its successors and assigns, that (1) Seller ie tie lawful
owner of the Aircraft and, Seller is hereby transferring and conveying to Purchaser full egal and beneficial title to the Aircraft and that
Purchaser wil acquire by {he terms of this Warranty Bill of Sale and {he FAA Bil of Sale (Form 8080-2) good and valid title to lhe Alroraft
and that the Alreraft is free and Clear of al morigages, leases, security interests, claims, charges, Kens and encumbrancgs of any kind
whatsoever, (2) Selfer has tha right to sell the Alreraft as aforesald: and (3) Seller shall warrant and defend fille to the Alroraft against the
claims of any person, party, firm, corporation or entity of any kind whalsoever which may have scented, existed or attached thareto or
arisen prior to transtar of tile by Seller to Purchaser,

DISCLAIMER: BUYER UNDERSTANDS THAT THE AIRCRAFT IS BEING PURCHASED IN AN “AS IS, WHERE |S"
CONDITION EXCEPT AS PROVIDED ABOVE TO THE CONTRARY, UNLESS OTHERWISE PROHIBITED BY LAW
AND THIS AGREEMENT, BUYER AGREES THAT THE WARRANTIES OF SELLER SET FORTH IN THE FOLLOWING
PARAGRAPH ARE EXCLUSIVE AND IN LIEU OF ALL OTHER WARRANTIES OF SELLER, WHETHER WRITTEN,
ORAL OR IMPLIED, OTHER THAN THE EXPRESS WARRANTIES OF TITLE SET FORTH IN THE WARRANTY BILL
OF SALE. BUYER ACKNOWLEDGES AND AGREES THAT SELLER SHALL NOT, BY VIRTUE OF HAVING OWNED
AND SOLD THE AIRCRAFT OR OTHERWISE, BE DEEMED TO HAVE MADE ANY REPRESENTATIONS OR
WARRANTY AS TO THE MERCHANTABILITY, FITNESS, DESIGN OR CONDITION OF, OR AS TO THE QUALITY OF
THE MATERIAL OR WORKMANSHIP IN, THE AIRCRAFT, OR TO HAVE MADE ANY OTHER REPRESENTATIONS OR
WARRANTIES. SELLER DISCLAIMS AND BUYER WAIVES ALL WARRANTIES AND LIABILITIES, EXPRESS OR
IMPLIED, ARISING BY LAW OR OTHERWISE (INCLUDING STRICT LIABILITY IN TORT), WITH RESPECT TO THE
MERCHANTABILITY, FITNESS, DESIGN OR CONDITION OF, OR AS TO THE QUALITY GF THE MATERIAL OR

WORKMANSHIP IN, THE AIRCRAFT.

Seller's other warrantias and representaflons, including disclaimers and limitations, with respect fo the Alrcraft are as

set forth in the Agreemart.
Seller agrees and acknowledges that the terms and conditions of this Warranty Bill of Sale, including without
Umitation, all rapresentations, warranties and agreements for ihe benefit of Purchaser, shall survive the delivery of the

Aircraft and the delivery, execution and recording of the FAA Bil of Sale,
In witness whereof, Sellar has caused this Warranty Bill of Sale to be signed by Its duly authorized officer this First day of

December 2014 .

Seller:

a

4 \
Purchaser's Initials 4 Bo Datel L 4 |

Seller’s Initials Date

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APPENDIX 5
AIRWORTHINESS DISCREPANCIES
Selfer’s Initints Date Purchascr’s Initials Ad Date] rh H+

RCONS0267

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METSCH & MASON, LLP
; Emerald Plaza
/ 402 W, Broadway, Sulte 2700
C | : San Diego, California 92101
; : wu metschmaion.com

Direct Fax 619-230-1839

ivi ETS Cc Fi | IVI AS oO N pmetsch@matschiaw.com

Paul $. Metsch
Direct Dick 619-230-1642

May 28, 2015

VIA FEDEX AND EMAIL
{(pgu@arm.aero)

Pablo Gonzalez Ulloa
Indiana 141 Napoles
Mexico, D.F, 03810

Re: 1983 Gulfstream III Aircraft S/N G-1159A-388 (“Aircraft”)

Dear Mr. Ulloa:

We represent R Consulting & Sales, Inc. (“R Consulting”). 1 write with reference to the

December 1, 2014 Aircraft Purchase Agreement (“Purchase Agreement”) between R Consulting

and Jose Luis Sanchez, in which you acted as R Consulting’s agent, and the September 4, 2014 :
Aircraft Dry Lease between R Consulting, on the one hand, and Aviarrendamientos 8.A. de CV,
and you, on the other hand (‘Lease’). I enclose copies of the Purchase Agreement and Lease for
your reference, We hereby demand that you remit payment of the $1 million (U.S. dollars) due
to R Consulting under the Purchase Agreement by no later than Friday, June 5, 2015.

Based on the information and documentation in our possession, we can conclusively establish
that Sanchez paid to you the sum of $1 million due under the Purchase Agreement and that you
then delivered the Aircraft to Mr. Sanchez, yet you failed to remit the $1 million to R Consulting, |
as required under the Purchase Agreement. In addition, as a result of your failure to remit the
payment, the Lease terms remain in effect and the monthly rental rate of $73,000 continues to
accrue, along with interest on the accrued rent at the rate of 10%.

These facts give rise to causes of action against you for breach of contract, fraud and breach of
your fiduciary duty to R Consulting, as its agent in connection with the sale of the Aircraft under
the Purchase Agreement. Your wrongful actions expose you and your company to both
compensatory and punitive damages. We have already prepared a Complaint based upon these

facts and are prepared to file it immediately.

If R Consulting does not receive payment of $1 million (U.S. dollars) from you by Friday, June
5.2015, we will have no option but to file the lawsuit and seek ail compensatory damages due to
R Consulting, to include all past-due sums under the Lease, as well as punitive damages under
the fraud claim. The total amount due under the Complaint is well in excess of the $1 million

due under the Purchase Agreement.

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RCONS0268

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Pablo Gonzalez Ulloa
May 28, 2015
Page 2

R Consulting reserves all rights.

indeggl y,

LPS MLA;

aul S. Metsch
METSCH & MASON, LLP
PSM/ad

Enclosures
co: client

RCONS0269

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AIRCRAFT PURCHASE AGREEMENT

AND BETWEEN R CONSULTING & SALES. INC. 318 N CARSON St. SUITE 208. CARSON CITY, NV 89701, _E-
LE

MAIL: skywonders@aal com, PHONE: (760) 809-45-65 ("SELLER") AND_ JOSE LUIS SANCHEZ
MAIL: ioseluissanchez 188 @vahoo.cam — , PHONE: (__) _ (PURCHASER) AND WITNESSETH:

WHEREAS, SELLER AND PURCHASER PREVIOUSLY EXECUTED A LETTER OF INTENT (THE ‘LETTER OF
INTENT TO PURCHASE") THE GULFSTREAM IN AIRCRAFT DESCRIBED BELOW (THE “AIRCRAFT’) EXECUTED
DECEMBER 1, 2014 PROVIDING FOR, AMONG OTHER THINGS, A PRE-PURCHASE INSPECTION OF THE

AIRCRAFT AND RECORDS;

WHEREAS, PURSUANT TQ THE OFFER TO PURCHASE, THE AIRCRAFT HAS BEEN DELIVERED BY SELLER TOA
FACILITY DESIGNATED BY PURCHASER FOR ACCOMPLISHMENT OF THE PRE-PURCHASE INSPECTION: AND

THIS AIRCRAFT PURCHASE AGREEMENT (THIS “AGREEMENT’) IS MADE THIS 1* DAY OF DECEMBER, 2014 BY

WHEREAS, THE LETTER OF INTENT CONTEMPLATES THE EXECUTION OF AN AIRCRAFT PURCHASE
AGREEMENT AND THE PARTIES INTEND THIS AGREEMENT TO FULFILL THAT CONTEMPLATION.

NOW THEREFORE, SELLER AND PURCHASER HEREBY AGREE AS FOLLOWS:

Agreement fo Purchase’ Seller agrees to sell and purchaser agrees to purchase the aircrafl specified below

1,
subject to the terms and conditions set forlh below and attached herein (and by this reference made a pari hereof).

YEAR MODEL FAA NUMBER AIRCRAFT SERIAL NUMBER ENGINES
19B3 Gulfstraam 1H N388LR 348 Rolts Royce Spey
| Mk S21SR
Specifications; TOTAL SELLING PRICE | $1,000,000 | Co
Seller represents that the Aireraft has the |
specifications set forth in Appendix 1 horets. TOTAL SALE $1,000,000 | 00
TOTAL CREDIT TO SALE | 00
CASH DUE $1,000,000 { 00

Payment: The Aircraft will be sold for cash, payable on the date of Closing (as hereinaiter defined) and by
delivery of lawful money of the United Stales of America by wire transfer to R Consulting & Sales inc.

Pre-Purchase Inspection Buyer has executed and is salisfied with his own pre-purchase inspection.

n

3.

4. Failure to Close or Accept Delivery: Purchasar accepts and takes dalivery of aircraft upon execution of this
purchase agreement,

5. Force Majeure: Seller shall not be liable for labor difficulties, machinery breakdowns, inability to obtain shipping
space or transportation. delays of carriers or suppliers, fires, floods, acts of God, or other outbreak of hostilities,
mobilization, civil cammoation, riots, embargoes. and damestic or foreign governmental regulations or orders (each a
“Force Majeure Event’) or should the Aircratt be destroyed or damaged beyond repair before or after Closing,

6. Clasing. The closing (the *“Clasing™) on the Aircrait will take place on or before three (3) business days after the

Airvorihiness Discrepancies are completed.

" Ti a
Purchaser's initials jp! Date Lae 4

Seller’s fnitials = Date

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Closing, Title and Delivery: On or prior to the Closing Dale, Purchaser shail (i) wire the remaining portion of the
Purchase Price to the Escrow Agent, together with amounts sufficient to pay all taxes pursuant to Paragraph 16
hereof, the filing fees to file for the Registration (as hereinafter defined) and the FAA Bill of Sale (as hereinafter
defined) with the FAA, and the Delivery Costs (as hareinafler defined), (i) deliver to the Escrow Agent an original
completed and executed application for registration of the Aircraft with the FAA {the “Registration’), and (ifi) deliver
to Escraw Agent an executed escrow agreement authorizing the release of tha Purchase Price and filing of the
Registration and FAA Bill of Sale upon satisfactian of the terms of this Paragraph 9. On or pror to the Closing
Dale, Seller shall (i) deliver ta the Escrow Agent two (2) original executed Federal Aviation Administration Bill of
Sale Form 8950-2 in the form attached hereto as Appendix 3 (the “FAA Bill of Sale’), {ii) deliver to Escrow Agent an
original executed Warranty Bill of Sale to the Aircraft in the form attached herelo as Appendix 4, and (iif) deliver to
Escrow Agent an executed escrow agreement authorizing the release of the Purchase Price and filing of the
Registration and the FAA Bill of Sale upon satisfaction of the terms of this Paragraph 9. The Ajrcrait shall be
delivered for closing in or at Purchaser's expense to some other mutually agreeable location within the continental
United States (the “Delivery Location’), which shall not give rise to adverse tax consequences for the parties.
Purchaser shall pay Seller's reasonable out-of-pocket cost for fual, pilot travel and the pilot's daily rats if other than
Seller's own pilots (not to exceed $500.00 per pilot) to ferry the Aircraft from to the Delivery Location (colfectively,
the “Delivery Costs"), On the date of Closing, the parties shall clase on this transaction once it has been verified by
the Escrow Agent that (i) Escrow Agent has received all deliveries required by the Purchaser, {il) Escrow Agent has
received ail deliveries required by the Seller, (iti) the Aircraft is in position at the Delivery Location, and (iv)
Purchaser has accepted delivery of the Aircraft by executing and delivering to Seller the Delivery Receipt in a form
substantially the same as Appendix 2 attached hereto and incorporated herein. At the time of Closing the Escrow
Agent shall simultaneously: 1) release to Seller the Purchase Price less any broker commissions to be paid by
Seller, any loan payoff and the escrow fees due to Escrow Agent: il) release the Delivery Costs to Seller: (i) file the
Registration and the FAA Bill of Sale with the FAA, and (iv) release the Warranty Bill of Sale to Purchaser.

Title to the Aircraft free and clear of all liens and encumbrances and risk to the Aircraft shall pass to Purchaser on the date
of Closing. Seller will maintain full insurance coverage on the Aircraft until the risk of loss passes to Purchaser at Closing.

é.

10.

Taxes: Purchaser agrees to pay and to indemnify Seller for all gales and use taxes or assessments which may be
imposed by any gavernmental authority upon this sales transaction or the use of the Aircraft by Purchaser, and any
such taxes or assessments which Seller will be obligated under law to collect from Purchaser, Except as provided
heréin, Seiler agrees to pay and to indemnify Purchaser for all taxes, fees or duties and expenses, as well as any
penaities, interest and attorney's fees, imposed by any jurisdiction or governmental authority as a result of the
ownership, location or usage of the Aircraft prior to the Closing Date/Delivery Time and all taxes on profits, gross
receipts or income of Seller applicable to or arising out of the transactions contemplated by this Agreement. Prior
to the payment of any assessment for which Purchaser or Seller desires to seek indemnification from the other
parly hereunder, the party desiring indemnification shail provide the other party with five (5) business days prior
written notice of the same. The indemnified party shall allow the indemnifying party io dispute any such
assessment and shall cooperate reasonably in regard thereto.

DISCLAIMER: BUYER UNDERSTANDS THAT THE AIRCRAFT IS BEING PURCHASED IN AN "AS IS,
WHERE IS" CONDITION EXCEPT AS PROVIDED ABOVE TO THE CONTRARY. UNLESS OTHERWISE
PROHIBITED BY LAW AND THIS AGREEMENT, BUYER AGREES THAT THE WARRANTIES OF SELLER
SET FORTH IN THE FOLLOWING PARAGRAPH ARE EXCLUSIVE AND IN LIEU OF ALL OTHER
WARRANTIES OF SELLER, WHETHER WRITTEN, ORAL OR IMPLIED, OTHER THAN THE EXPRESS
WARRANTIES OF TITLE SET FORTH IN THE WARRANTY BILL OF SALE. BUYER ACKNOWLEDGES ANO
AGREES THAT SELLER SHALL NOT, BY VIRTUE OF HAVING OWNEO AND SOLD THE AIRCRAFT OR
OTHERWISE, BE DEEMED TO HAVE MADE ANY REPRESENTATIONS OR WARRANTY AS TO THE
MERCHANTABILITY, FITNESS, DESIGN OR CONDITION OF, OR AS TO THE QUALITY OF THE MATEBIAL
OR WORKMANSHIP IN, THE AIRCRAFT, OR TO HAVE MADE ANY OTHER REPRESENTATIONS OR
WARRANTIES. SELLER DISCLAIMS AND BUYER WAIVES ALL WARRANTIES AND LIABILITIES,
EXPRESS OR IMPLIED, ARISING BY LAW OR OTHERWISE (INCLUDING STRICT LIABILITY IN TORT),
WITH RESPECT TO THE MERCHANTABILITY, FITNESS, DESIGN OR CONDITION OF. OR AS TO THE
QUALITY OF THE MATERIAL OR WORKMANSHIP IN, THE AIRCRAFT,

WARRANTY: Seller warrants that ail representations ard warranties in this Agreement are true and correct in all
material respects as of the contract acceptance date on the front page of this Agreement and will be true and
correct as of the date of Closing. Seller warrants that, at closing, it will have good, marketable title and possession

Seller's (nitials Date _ coeeeme Purchaser's Initials | Datel weit
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of the Aircraft, including the engines, free and clear of all liens, claims, demands and encumbrances, which title
Seller will convey to Purchaser. Purchaser and Seller warrant that each has the authority to enter into this
transaction under its articles of incorporation and the applicable law of the state of its incorporation.

Assignments of Programs and Warranties: Seller hereby assigns to Purchaser (to the extent assignable), as of
the date of Closing, all of the rights, warranties, representations, covenants, and indemnitias made to Seller by or
which Seller is entitled to enforce against any predacessor in tile to the Aircraft or from the Aircraft manufacturer, if
any. Seller agrees to assist Purchaser, at Purchaser's sole cost and expense, in enforcing or arranging for the
anforcement by appropriate parties for Purchaser's benefit, at Purchaser's sole cost and expense, all such rights,
warranties, representations, covenants and indermnities, including transfer to Purchaser at Closing of any other third
party service or maintenance agreements. However, Purchaser shall pay any costs related to the transfer of such

warranties and programs.

1H.

Acceptance Flight: Shall not exceed bvo (2) hours with Sellers Pilot in Command as captain during the flight ancl
the Purchaser may provide a qualified co-pilot for such Acceptance Flight. The Acceptance Flight may be combined
with the ferry flight to transport the Aircraft to the location of the final Delivery.

42.

43. Applicable Law: This Agreement shall be construed and interpreted under the laws of the State of California in the
County encampassing the City of San Diego,

Enforceability: In the event any provision of this Agreement is prohibited by or invalid under applicable law, such
provision shall be ineffective only to the extent of such prohibition or invalidity, without affecting the remaining
provisions of this Agreement which shall continue in full force and effect,

14,

Survival: The covenants, agreements, representations and warranties by Seller shall survive the Closing of this
transaction.

18.

46. Cooperation: Each party shall execute and deliver all such documents as may reasonably be requested in order to

implement the intent and purposes of this Agreement, and shall cooperate reasonably in carrying out the Closing.

17. Broker's Commissions; Seller shall be responsible for payment of a commission due to its broker, if any,
Purchaser has not engaged any broker. Seller does hereby agree to indemnify and defend Purchaser and hold
Purchaser harmless from any and all commissions, claims {o such commissions or similar fees, including attomeys®
fees incurred in any lawsuit regarding such commission or fees to Broker, or any other broker to the extent such
claims or liabilities are by any broker claiming by. through or under Seller and are based upon the actions of Seller.
Purchaser does hereby agree to indemnify Seller and hold Seller harmless from any and all commissions, ciaims to
such commissions or similar fees, including attorneys’ fees incurred in any lawsuit regarding such commission or
fees, lo the extent such claims or liabilities are by any broker claiming by, through or under Purchaser and are based

upon the actions of Purchaser.
Non-Disclosure; The material terms and conditions set forth in this Agreement may not be disclosed in any
fashion, either in whole ar in part, to any third party (excluding governmental authorities and the disclosing party's

legal counsel, financial instilution, accountants and other relevant personnel with a need to know) unless in
connection with enforcement of the terms hereof or unless the party desiring to make such disclosure first obtains

the express written approval of the other party.

18.

Litigation Expenses: }f litigation is instituted to enforce this Agreement, the prevailing party shall be awarded its
feasonable atlorney's fees incurred end all reasonable litigation costs, including depositions, expert witness fees,
photographic expense, witness travel and lodging expense and afl court costs.

1.

Agreement Assignment: Neither party may assign its rights, interests or obligations under this Agreement without

20.
the prior written consent of the other party.

{international Registry: Purchaser and Seller agree to timely register, and to cause their lenders and/or lessees, if
any, to timely register, as users of the International Registry established pursuant to the Cape Town Convention on
Intemational Interests in Mabile Equipment and the Protocal fo the Convention on international Interests in Mobile
Equipment on Matters Specific lo Aircraft Equipment (collectively the “Cape Town Treaty”) and to make, or cause ta
be made ail filings and consents to filings required to perfect Purchaser's ownership interest, and the lien hold
interest of Purchaser's lender, in the Aircraft pursuant to the Cape Town Trealy, concurrent with the Closing.

24.

| ‘ we a" . i: , 4
Seller's Initials Date i Purchaser's Initials #- Date! Wels
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international Registry: Purchaser and Seller agree to limely register. and to cause their lenders and/or lessees,
iL any, to timely register, as users of the Inlernational Registry established pursuant to the Cape Town Convention
on International Interests in Mobile Equipment and the Protocol to the Convention on international Interests in
Mobile Equipment on Matters Specific to Aircrafl Equiprnent (collectively the “Cape Town Treaty”) and to make, or
cause to be made ail filings and consents to filings required to perfect Purchaser's ownership interest, and the lien
hold interest of Purchaser's lender. in the Aircraft pursuant to the Cape Town Treaty, concurrent with the Closing.
Purchaser shall pay for all costs associated with registering Purchasers and Purchaser's lender's International
Interests, including bul not limited to registering Purchaser and Purchaser's iender as a Transacting User Entity.
fiting fees for filing Purchaser's and Purchaser's lenders International Inierests in tne airframe and engines, and
fees associated with searching the International Ragistry priar ic. and after registration of Purchasers and
Purchaser's lender's International Interests. Seller shall be required to pay its own costs related to registering

Seller as a Transacting User Entity on the International Registry

21

Counterparts: This Agreement may be executed in counterparis, euch when reed together constituting a binding
agreement on the parbes. E-mailed signatures will have the full force and effect of criginal signatures

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Entire Agreement: This Agreemeni constitutes the entire agreerneat of the parties herato with respect to the
purchase and safe of the Aircraft, 2f prior representations and unde:siancings having been merged herein. This
Agreement may not be modified or terminated orally. No claimed modification, termination or waiver or any of ihe
provisions of this Agreernent shall be valid unless in writing signed by the party to be bound thereby. The terms
and conditions hereof! supersede and cancel any terms contained in any other documents. This Agreement
becomes a binding contract when it is signed by both parties hereto.

IN WITNESS WHEREOF, the undersigned have caused this Agreement to be duly executed by their authorized officers as
of the dale and year first above mentioned,

SELLER: R Consulting & Sates, Inc. PURCHASER
By: By: . oo
Name: Raquel Michel Title: President Name: Jose Luis Sanchez TitleT Individual

Address: 1150 Lee Wagener Blvd, Suite 203
City/State/__Forl Lauderdale, Florida 33315

Address; 318 N Carson St, Suite 208

Ciny/State/Zip: Garson Cily, Nevada 89701
Phone: _(760) 809 4566

Phona:

| Purchaser's Inttials

| ers Initials Date _

RCONS0273

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| APPENDIX 1

Max Ramp: 70.200 Lbs
Max Take-off: 69.700 Lbs

Engine Specs:
ROLLS ROYCE SPEY MKC 511-8

APU-Allied Signal GTCP 36-100 G-APU
sin 440C

Avionics/Radios:

Sperry SPZ 800 Auto-Pilot
HNYWL Primus 880 Radar
Qual Collins FD-709 F.D.

Allied Signal TCS fl W/CH7
Dual Collins VHF 220 Comms
Universal UNSIK FMS

Dual Collins VIR 30 NAVS
Universal UNS 1K GPS

Dual Callins ADF-50 ADF

Dual Litton 92 INS

Dual Collins DME-42 DME
Collins ALT 55B Radar ALT WIAVTA
Dual HNYWL RCZ8&52 XPNDR
Universal Class A EGPWS
Dual Collins 671 URN/SEL HLF,

Additional Equipment:
AFT Lavatorie

AFT Galley

Convection Oven
Microwave Oven

Three Cabin Monitors
Panasonic DVD Player
Sony VCR

10 Disc CD Player

OTHER OPTIONS:
Fairchild A-100 CVR
RVSM Approved
caller's initiate ” ae ey 2 ya
Seller's tnitiats Date Purchaser's Initials / Datei 0 14
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Provisions for FOR
| 8.33 Spacing
FRM immunity
Gulfstream Camp

Exterior:
Overall White w/ Black Main Stripes

interfor:
12 Passenger Ten individual Chairs, Three Place Divan, Chairs Beige Leather, Divan Beige and Tan Fabrics, Carpet Brown

Sculptured. Headliner in Sand Ultra, Cabinetry and Wood Trim in Dark Burl.

inspection Status:
On Factory Recommended Maintenance. Camp Maintenance Records.

Fresh 12, 24, & 72 Mo. and 5000 Cycle inspections and Fresh Landing Gear O.H.

oe I ;
Purchaser’s Initials. o)  Date a!

Seller's Initials - Date

RCONS0275

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APPENDIX 2

DELIVERY RECEIPT

delivery on this EIRST day of December _, 2014, of the following Aircraft:

Year/Model: 1983 Gulfstream Il
Serial Number: 388
Registration #: N388LR

Aircraft Total Time:

Total Engine Hours-Left:

Tatal Engine Hours-Right:

Delivery of the Gulfstream I has been made to Purchaser at:

(Facitity),

(City and State)
complete with all logbooks and equipment (as outlined on the Schedule A to the Agreement), as well as all

spare of loose equipment associated with the Aircraft.

Purchaser has visually examined the Aircraft and completed a Pre-purchase Inspection as defined in the Terms
and Conditions to the Aircraft Purchase Agreement, and hereby accepts delivery of the Aircratt under terms and
conditions of the above referenced Agreement. As of this date, Purchaser further accepts the Aircraft "As Is,

Where Is," with all faults,

Agreed and Accented By Purchaser:

ee
te

Signed By: é
Name:
Title:
i]
ee - Aa 1d WI
Seller's Iniuals 0 Date Purchaser's Initials fi"! Date 1 T] ib
L
RCONS0276

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soos Ty B FORM
[APPENDIX 3 APPROVED

OMB NG, 2120-0042

UNITED STATES OF AMERICA

U.S. DEPARTMENT OF TRANSPORTATION FEDERAL AVIATION ADMINISTRATION

AIRCAAFT BILL OF SALE

FOR AND IN CONSIDERATION OF $ 1.00 +0.v.c. THE UNDERSIGNED
OWNER(S) OF THE FULL LEGAL AND BENEFICIAL TITLE OF THE AIRCRAFT

DESCRIBED AS FOLLOWS:
UNITED STATES
REGISTRATION NUMBER N388LR,

AIRCRAFT MANUFACTURER & MODEL
Gulfstream Ii!

AIRCRAFT SERIAL Na.

388

DOES THIS DAY OF _ DECEMBER 2014 , HEREBY SELL,
GRANT, TRANSFER ANO DELIVER ALL RIGHTS. TITLE. AND INTERESTS IN Do Not Write In This Block
FOR FAA USE ONLY

AND TO SUCH AIRCRAFT UNTO:

NAME AND ADDRESS
(IF INDIVIDUAL (8), GIVE LAST NAME, FIRST NAME, AND MUDDLE INITIAL.)

Sanchez, Jose L

PUR ;
CHA
SER
DEALER CERTIFICATE
NUMBER .
AND TO EXECUTORS, ADMINISTRATORS, AND ASSIGNS TO HAVE AND TO HOLD
SINGULARLY THE SAID AIRCRAFT FOREVER, AND WARRANTS THE TITLE THEREOF.
IN TESTIMONY WHEREOF ___ HAVE SET HAND AND SEAL THIS DAY OF 2014.
NAME (S) OF SELLER SIGNATURE (S) TITLE
(TYPED OR PRINTED)

(TYPED OR PRINTED) (IN INK) (IF EXECUTED FOR
CO-OWNERSHIP. ALL MUST SIGAL}

| R Consulting & Sales, Inc.

SEL J |

LER
ACKNOWLEDGEMENT INOT REQUIRED FOR PURPOSES OF FAA RECORDING: HOWEVER, MAY BE REQUIRED

BY LOCAL LAW FOR VALIDITY OF THE INSTRUMENT.)

‘ORIGINAL TO FAA
AC Form 8050-2 (9/92) (NSN 0052-00-629-0003) Supersedes Previaus Edition

f

Seller’s initials Date Purchaser's Initialy ¢ | Datei:

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WARRANTY BILL OF SALE

APPENDIX 4

(hereinafter “Seller’}, in consideration of the sum of one dallar (31.00) plus other good and valuable consideration paid by
(hereinafter “Purchaser’}, receipt of which is hereby acknowledged, pursuant and subject to an Aircraft Purchase Agreement between
Seller and Purchaser, dated December 1", 2014, (the “Agreement’), hereby sells, grants, assigns, transfers and deivers to Purchaser,
fis Successors and assigns, all right, title and interest in and to the Aircra described as: 1) 1983 Gulfstream Ill, bearing FAA Registraiion
N388LR and manufacturer's serial number 388; 2} two (2) engines, respectively bearing manufacturer's serial numbers 3) all Aircraft
records. ard 4} olher equipment of whatever nature insiaiied on the Aireraft as set forth in the Agreement and as ray be more fully sat
forth in Appendix 1 thereof, [hose ilems set forth or as provided in 1), 2) ard 3} above being hereinafter collectively referred to as
“Aircraft”
Seller hereby represents and warrants to, and agrees with, Purchaser, its successors and assigns, that (1) Setter is the lawful
owner of the Aircraft and, Seller is hereby transferring and conveying to Purchaser full legal and beneficial titie to he Alrcratt and that
Purchaser wii acquire by the terms of this Warranty Bill of Sate and the FAA Bill of Sale (Form 8050-2) good and vaid title ta the Aircrah
and that the Aircrait is free and clear of all morlgages. jeases, security interesis, claims, charges, ens and encumbrances af any king
whatsoever, (2) Seller has the right to sell the Aircraft as aforesaid: and (3) Seller shall warrant and defend tite to the Aircratt against the
claims of any person, party, fm, carporation or entity of any kind whatscever which may have accrued, existed or attached thereto or
arisen prior to transfer of title by Seiler to Purchaser.

DISCLAIMER: BUYER UNDERSTANDS THAT THE AIRCRAFT IS BEING PURCHASED IN AN “AS JS, WHERE IS"
CONDITION EXCEPT AS PROVIDED ABOVE TO THE CONTRARY. UNLESS OTHERWISE PROHIBITED BY LAW
AND THIS AGREEMENT, BUYER AGREES THAT THE WARRANTIES OF SELLER SET FORTH IN THE FOLLOWING
PARAGRAPH ARE EXCLUSIVE AND IN LIEU OF ALL OTHER WARRANTIES OF SELLER, WHETHER WRITTEN,
ORAL OR IMPLIED, OTHER THAN THE EXPRESS WARRANTIES OF TITLE SET FORTH IN THE WARRANTY BILL
OF SALE. BUYER ACKNOWLEDGES AND AGREES THAT SELLER SHALL NOT, BY VIRTUE OF HAVING OWNED
AND SOLD THE AIRCRAFT OR OTHERWISE, BE DEEMED TO HAVE MADE ANY REPRESENTATIONS OR
WARRANTY AS TO THE MERCHANTABILITY, FITNESS, DESIGN OR CONDITION OF, OR AS TO THE QUALITY OF
THE MATERIAL OR WORKMANSHIP IN, THE AIRCRAFT, OR TO HAVE MADE ANY OTHER REPRESENTATIONS OR
WARRANTIES, SELLER DISCLAIMS AND BUYER WAIVES ALL WARRANTIES AND LIABILITIES. EXPRESS OR
IMPLIED, ARISING BY LAW OR OTHERWISE (INCLUDING STRICT LIABILITY IN TORT), WITH RESPECT TO THE
MERCHANTABILITY, FITNESS, DESIGN OR CONDITION OF, OR AS TO THE QUALITY OF THE MATERIAL OR

WORKMANSHIP IN, THE AIRCRAFT.

Seller's other warranties and representations, including disclaimers and limitations, with respect to the Aircraft are as

set forth in the Agreement.
Seller agrees and acknowledges that the terms and conditions of this Warranty Bill of Sale, including without
limitation, all representations, warranties and agreements for the benefit of Purchaser, shall survive the delivery of the

Aircraft and the delivery, execution and recording of the FAA Bill of Sale,
In witness whereof, Seiler has caused this Warranty Bill of Sale to be signed by its duly authorized officer this First day of

December 2014 .
Seller:
By:

Name:
Title:

monn rc are
Seller's Initials, Date Purchaser's Initials i Date Li

RCONS0278

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APPENDIX §
AIRWORTHINESS DISCREPANCIES
I
|
|
Seller's Initials Date _ | Purchaser's Initials A it Datel ih iy |

Caen ae _

RCONS0279

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AIRCRAFT DRY LEASE

THIS AIRCRAFT DRY LEASE (“Lease”) is made as of September 4, 2014 (the
“EMective Date") by and between Ro Consulting and Sales Inc, a Nevada professional
corponition (Lessor) and Aviarrendamientos S.A. de CV. and Pablo Gonzalez Ulloa
CULessee”) (collectively, the “parties,” and individually a “party”).

In consideration of the representations, warnintics and agreements hereinafter set forth,
the partics agree as follows: ,

lL. Aireraft, Subject to the terms and conditions of this Lease, Lessor agrees to lease
o Lessee, and Lessee agrees to lease from Lessor, a 1983 Gulfstream IH Aireraft S/N G-EIS9A-
$8 and its affixed (wo engines, bearing FAA Registration Number N388LR, including its
engines, avionics, instruments, accessories, and component parls, including rephicement parts
installed thereon (collectively, the “Aircraf"). Lessor represents and warrants lo Lessee that it
owns, free and clear of any claim, encumbrance, resitichon, oF lien, all right, tithe and interest to
the Aircraft: that as of the Effective Date, the Aircraft has current hull insurance and liability
insurance fer the Aircratt issued by insurance in the limit amounts set forth below in Paragraph
10 (“Insurance Policy”); the Aircraft has a valid Federal Aviation Administration (*FAA”)

fae

registration.
2 Term. The term of this Lease shall be for (3) months after the tlective Date
days after delivery of weitten

subject to earlier termination by cither party atany time thirty (30)
notice ("Notice of Termination”) Payments must be current to terminate Lease to the other party
to this Lease ("Termination Date"). Lessee shall not schedule use of the Aircraft so that the trip

extends beyond the Termination Date without the express prior writen agreement of Lessor,

Security Deposit, Upon the execution of this Lease by Lessor and Lessee,

3. y De
Lessee shall deliver to Lessor a non-refundable first and last month security deposit and one
Nineteen Thousand Dollars (U.S. $219,000) (“Security

manth security deposit of Two Hundred
Deposit"), which shall be held by Lessor as provided in this Lease. Lessee may pay the Security
Deposit by a wire as instructed in writing by Lessor or by check payable to Lussor,

4. Rent. Lessee will pay Lessor as rental for the Aireraft (*Rent”) Seventy Three
Thousand Dollars ($ 73,000) per month of Lessee's use of the Aircrall, including for “Deadhead”
legs. Lessee will pay Rent within five (5) days of the fourth of every month, Late rent will be

charged at 10% of Lease Payment,
5. Base Maintenance. The Aircraft will be Maintained by R Consulting & Sales, |
Inc., a California corporation (“Manayer™), whose principal place of Ontario, California, or such Ww
other location as the parties may agree in writing (Base). Lessor and Manager have entered
into a management agreement that Lessor represents and warrants to Lessee is in effect as of the
hich Manager has agreed to

Effective Date (the "Management A greement™) pursuant to w
maintain the Aircraft at Lessor’s approved mainicnance facility, Lessor represents and warrants

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to Lessee that it shall maintain the Aircraft at its sole cost during the Term and if it replaces the
manager of the Aircraft during the Term, it shall promptly notify Lessee of such fact.

6. Return. Upon expiration or termination of the Term, Lessee will return the

Aircraft to the Base at San Diego Brown Field. Lessee will return the Aircrafi to Lessor in the
same condition as received, normal wear and tear excepted.

7. Operation. The Aircraft is to be operated under this Lease in accordance with
Part 91. When the Aircraft is operated under this Lease, Lessee will at all times be in operational
control of the Aircraft and will not, except with Lessor’s prior written consent, assign this Lease
or sublease the Aircraft, and Lessee will be solely responsible for its possession and use, Lessee
will not use or operate the Aircraft in violation of any law, regulation or order of any
governmental authority, or in violation of the Aircraft’s airworthiness certificate, license or
registration, or in breach of any term or condition of any insurance policy required under this
Lease, or use the Aircraft in any area excluded from coverage by the terms of any insurance
policy required under this Lease. When the Aircrafi is operated under this Lease, Lessee will, at
all times, employ or contract (through Manager or independently) for pilots to operate the
Aircraft who are duly qualified, current, and rated on the Aircraft and whose licenses are in good
standing, and who meet the standards established by the Federal Aviation Administration
(“FAA”) and by any insurance policy required under this Lease, Lessee will bear the cost of any
fees, charges or penalties arising out of Lessee's operation of the Aircraft. Lessor will bear all
capital improvement costs for the Aircraft at lessors approved facility.

8. Maintenance. Lessor will at all times, at Lessor’s own expense, either through
Manager or otherwise, cause the Aircraft to be kept in a fully operational. Lessee is responsible
for consumables such as oils, hydraulic fluids, oxygen, nitrogen, ect while aircrafi is in there
possession. Lessee shall not make alterations, modifications, additions or improvements to the
Aircraft without the prior written consent of Lessor. All alterations, modifications, additions and
improvements which are made become the property of Lessor and are subject to the terms of this
Lease.

9. Records. Lessee will maintain, or cause to be maintained, all Aircraft logs and
records related to Lessee’s use of the Aircraft under this Lease

10. Insurance. Lessor will at all times, at Lessor’s own expense, cause to be
maintained a policy or policies of insurance with premiums thereon fully paid in advance, issued
by and binding upon a solvent insurance company, identifying Lessor as the named insured and x
sole loss payee under the aircraft hull, engine and property damage casualty insurance policy and \y\)
naming, among others, Lessee (and its affiliates, shareholders, directors, officers, employees, and
agents) and Manager as additional insureds under the general liability portion of such policy,
insuring against personal injury, death, hull damage or other property damage or loss arising out
of or in any manner occasioned by the act, omission or negligence of Lessor, Lessee, or
Manager, or their respective affiliates, owners, shareholders, directors, officers, employees, and
agents or invitees with respect to the custody, maintenance, use or operation of the Aircraft.
Lessor represents and warrants to Lessee that such Insurance Policy shall afford (a) adequate

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airemfl hall, engine and other property casualty insurance to satisfy Lessor in the event of the
destruction of the Aireraft: (b) include a breach of warranty endorsement and a waiver of
subrogation, and (c) include aircraft liability insurance with a minimum combined single jegal
lability limit in the amount of not less than Five Million Dollars ($5,000,000,00). Lessor shall
cause such Insurance Policy expressly to refer to, and shall provide coverage with respect to,
Lessee’s indemnity undertaking as set forth in Section 12 below. Such Insurance Policy shall
provide for at least thirty (30) days’ notice in writing to Lessee and Lessor before any
cancellation of such Insurance Policy, and an original endorsement complying with the foregoing
provisions shall be delivered by Lessor to Lessee promptly after this Lease is executed as a
condition of this Lease.

11. Loss or Damage, This Lease may be terminated by either party by reason of any
damage to or loss of the Aircraft and no Rent shall

be due for any period after the occurrence of a
casualty loss of the Aircraft,

12. Indemnification. To the extent that Lessee’s indemnity

undertaking herein is
covered by the Insurance Policy, Lessee agrees to indemnify, hold harmless and defend Lessor
and its members, together with the members, managers, officers, employees, agents, successors

and assigns af Lessor and of each such member of Lessor (each, an “Indeninitee”), from and
aginst any and all liabilities, losses. (including Lessee’s own loss of use), damages, penalties,
sanctions, fines, causes of action, Suits, Claims (including, without limitation, claims involving
strict or absolute liability in tort, damage, injury, death, liability and third party claims),
demands, costs and expenses of every nature (collectively, “Claims”), arising directly or
indirectly fram or in connection with Lessee’s use or operation of the Aircraft, or any default in
the performance of Lessee’s other obligations under this Lease, or any failure by Lessee to
comply with applicable law, ar any unlawful or negligent act or omission by Lessee, except to
the extent any such Claims arise out of, result from or relate to the negligence, breach of contract
or failure to comply with any applicable law on the part of such Indemnitee. Lessee’s
obligations under this paragraph will survive termination of this Lease and will remain in effect
until all indemnity payments required hereunder have been made by Lessee.

13, Taxes, Lessor shall be responsible for any State sales, use or other tax and shall
pay such taxes to the appropriate taxing authority related to this Lease. Lessor shall also be
responsible for filing personal tax owed on or for the Aircraft: Provided, however, that Lessee
shall pay all taxes and other charges associated with Lessee’s use of the Aircraft under this
Lease, including, without limitation, landing fees, fuel taxes and any other charges or fees that
may be assessed against a specific flight by Lessee. In case any report or return is required to be
made by Lessee with respect to any taxes, Lessee will either (after notice to Lessor) make such
report or return in such manner as will show the ownership of the Aircraft in Lessor and senda
copy of such report or retum to Lessor, or will notify Lessor of such requirement and make such \
report or return in such manner as will be sausfactory to Lessor. Lessor and Lessee agree to
cooperate fully with each other in the preparation of any such report or return. W/

14. Liens. Lessee will not directly or indirectly create, incur, as

sume or permit the
existence of any liens on the Aircraft related to Lessee’s use or operation o

f the Aircraft and

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Lessee will promptly, at Lessee’s own expense, take such action as may be necessary duly to
discharge any such lien.

15. Inspection. Lessor or its designee has the right, but not the duty, to inspect the
Aircraft at any reasonable time and upon reasonable notice, in flight, or wherever the Aircraft
may then be located. Upon Lessor’s request, Lessee will advise Lessor of the Atrcraft’s location
and will furnish Lessor with all logs and records in Lessee’s possession regarding the Aircraft
and its use, maintenance or condition.

16. Lessee’s Default. Each of the following events shall constitute an “Event of
Default” hereunder:

(a) Lessee fails to make payment of Rent within five (5) days after the same
becomes due; or

(b) _ Lessee fails to perform or observe any covenant, condition or agreement to
be performed or observed by Lessee under this Lease: or

(c) Lessee becomes insolvent; or

(d) Lessor believes, in good faith, that the prospect of payment or Lessee’s
performance under this Lease is uncertain or impaired.

17. Lessor's Remedies. Upon the occurrence of any Event of Default, Lessor may,
in its sole discretion, elect:

{a) By notice in writing, to terminate this Lease, whereupon Lessee will,
without further demand, forthwith return the Aircraft to Lessor as required under Section 6, and
pay all accrued and unpaid amounts due under this Lease; or

(b) | To perform or cause to be performed any obligation, covenant or

agreement under this Lease. Lessee agrees to pay all costs and expenses incurred for such
performance and acknowledges that such performance shall not be deemed to cure said Event of

Default; or
(c) To initiate proceedings against Lessee for any other remedy available to
Lessor whether at law or in equity. \
Lessee will be liable for all costs, charges and expenses, incurred by Lessor by
reason of the occurrence of any Event of Default or the exercise of Lessor’s remedies hereunder. Aw

No remedy is intended to be exclusive, but each will be cumulative and in
addition to any other remedy referred to above or otherwise available at law or in equity. The
failure or delay of Lessor in exercising any rights granted under this Lease upon any occurrence
of any of the contingencies set forth above shall not constitute a waiver of any such right.

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18. :gunterparts, Electronic Notices, and Signatures. This Lease may be
executed in any number of counterparts, each of which when so executed and delivered shal! be
deemed an original, and such counterparts together shall constitute only one instrument.
Electronic signatures shall be binding and effective as an original, This Lease shall be effective
as of the date specified on the first page hereof, notwithstanding the actual date of execution of
any of the counterparts hereof. Any one of such counterparts, or any true, complete and correct
copy thereof, shall be sufficient for the purpose of proving the existence and terms of this Lease,
and no party shall be required to produce an original or all of such counterparts in making such
proof. Notices to be given under the terms of this Lease shall be delivered in writing and may be
delivered by (1) electronic communication, provided electronic mail is confirmed as received by
the recipient, (2) personally; (3) by overnight courier, or (4) by certified mail, return receipt
requested, postage prepaid, addressed as provided on the signature page or to such replacement
address as may subsequently be provided in writing by one party to the other, and shall be
deemed to have been delivered in the case of an email, on the next business day if delivered after
5 PM to the location to which it is sent or the email is received, respectively; in the case of
mailing, two (2) business days after being mailed; and in the case of personal delivery, upon
actual delivery or the intended recipient’s refusal to accept delivery.

19. Entire Agreement. The terms and conditions of this Lease constitute the entire
agreement between the parties with respect to the subject-matter of this Lease and supersede all
prior written and oral negotiations, representations and agreements, if any, between the parties
with respect to such subject-matter, and will be binding upon them, their successors, assigns and

legal representatives.

20. Modification of Agreement. No change or modification or waiver of any term

or condition of this Lease will be effective unless the change or modification is in writing and
signed by the party to be charged.

2i. Governing Law. The parties acknowledge that this Lease and the enforcement
thereof will be governed by and construed and enforced in all respects in accordance with the
laws of the County of San Diego, State of California, without reference to its conflicts of law

tules.
22. ight to Pa enses. Lessor will have the right, but not the obligation, to pay

any costs or expenses that Lessee is obligated to pay under any provision of this Agreement, and
Lessee shall, promptly upon its receipt of a request therefor from Lessor, reimburse Lessor for all

amounts so paid by Lessor.

23. -in- ing.
(a) LESSOR HAS REVIEWED THE AIRCRAFT’S PRECEDING
EXECUTION OF THIS LEASE. ay

(b) LESSEE CERTIFIES THAT LESSEE, AND NOT LESSOR, IS
RESPONSIBLE FOR OPERATIONAL CONTROL OF THE AIRCRAFT UNDER THIS
LEASE. LESSEE’S ADDRESS APPEARS ON THE SIGNATURE PAGE HEREOF. LESSEE

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FURTHER CERTIFIES THAT LESSEE UNDERSTANDS LESSEE’S RESPONSIBILITY
FOR COMPLIANCE WITH APPLICABLE FEDERAL AVIATION REGULATIONS.

(c) | LESSOR AND LESSEE CERTIFY THAT THE AIRCRAFT WILL BE
MAINTAINED AND INSPECTED AS PROVIDED HEREIN UNDER PART 91 OF THE
FEDERAL AVIATION REGULATIONS AND, AT THE MINIMUM, IN ACCORDANCE
WITH THE MANUFACTURER’S RECOMMENDED INSPECTION MAINTENANCE
PROGRAM FOR THE AIRCRAFT WHEN OPERATED UNDER THIS LEASE. LESSEE
FURTHER CERTIFIES THAT LESSEE UNDERSTANDS LESSEE’S RESPONSIBILITY
FOR COMPLIANCE WITH PART 91 AND OTHER APPLICABLE PROVISIONS OF THE
FEDERAL AVIATION REGULATIONS.

(d) | LESSEE UNDERSTANDS THAT AN EXPLANATION OF FACTORS
BEARING ON OPERATIONAL CONTROL AND PERTINENT FEDERAL AVIATION
REGULATIONS CAN BE OBTAINED FROM THE NEAREST FAA FLIGHT STANDARDS
DISTRICT OFFICE.

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(e) THE PARTIES HEREBY CERTIFY THAT A COPY OF THIS LEASE
WILL BE CARRIED ON THE AIRCRAFT AT ALL TIMES, AND WILL BE MADE
AVAILABLE FOR INSPECTION ON REQUEST BY AN APPROPRIATELY
CONSTITUTED AND IDENTIFIED REPRESENTATIVE OF THE FAA.

IN WITNESS WHEREOF, the parties hereto have each caused this Lease to be duly
executed effective as of the Effective Date.

LESSOR: LESSEE:
R Consulting and Sales, Inc., Aviarrendamientos $.A, de C.V..,
a Nevada professional corporation Pablo Gonzalez Ulloa

An individual

WI.

By

Name: Name: AAD ooze. OUR
Title: Title: _ QUEROEST:

Mailing Address: Mailing Address:

R Consulting and Sales, Inc. Pablo Gonzalez Ulloa.

318 N Carson st STE 208 Address

Carson City, NV 8970] Indiana 141 Napoles

Mexico, DF. 03810
Email: sky wonders’G@.aol.com

Email: pgu@arm.aero

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EXHIBIT 16
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San Diego County Sheriff's Depariment
Crimef/incident Report

CAD EventNo: E3003758 CaseNo. 151639154 1
Primary Victim: == [E] R Consulting & Sales Inc. AepotNe. 151631544
Page 1 of 6
[ : : GENERAL CASE INFORMATION |
Primary Charge: 990000 - ZZ - COURTESY REPORTS
Special Studies: Related Cases:
Location, City, State, ZIP: Occurrad On:
1424 Continental St, San Diego, CA_92154 12/23/2014 10:00:00 (Tuesday}
Jurisdiction: Beat: Call Source: (and Betwaen):
City of San Marcas - SAN MARCOS 357 ADMIN
Maans: Motives:
[ VICTINUS 7
Victim #1
Person Code: ([] Secured Premise [-] Discovered Cima  {_]  Reporing Party ["] Law Enlorcament Officer
Name: Victim Type: Interpreter Language:
[E] R Consulting & Sales Inc. B - Business
ALAS / AKA / NICKNAME # MONIKER;
Name Typs: | First: Middle: Last: Suffix:
Victim Ot County Rasidence:
990000 - ZZ - COURTESY REPORTS
Home Address, City, State, ZIP: Res. Country: Place of Birth: Undecumentad:
Po Box 2840, San Marcos, CA 92079 No
Race: Sex: Date of Birth / Age: Height: Weight: Hair Color: | Eye Color: Facial Hair: Complexion:
Emplaymant Status: | Occupation/Grada: Empioyer/Senoo!: Employer Address, City, State. ZIP:
CONTACT INFORMATION:
Type: Numbar/Address:
WP - Work Phone 760 809-4566
IDENTIFICATION:
Type: Number: State: Country:
Altire: Injury: Extent of Treatment: | Viotent Crime Ciroumstances:
LAW ENFORCEMENT OFFICER | Type: Typa Activity: Type Assignment:
KILLED OR ASSAULTED
INFORMATION
f IBR/AUCR OFFENSE/S |
Offense Description: Lavel: Against: Completed? Gounts Using:
990000 - ZZ - COURTESY REPORTS 0 Yes N - Not Applicable
Location Type: Hate/Bias: Domestic Violence:
01 - Air/Bus/Train Terminal 88 - None (No Bias) No
Criminal Activity: Type Security: Gang Related: | Enlry: Paint of Entry:
No
Weapans/Forca: Tools: Targets:
ARRESTEE/S
f SUSPECT/S (Not Yet Arrested) - |
Suspect #1
Name: County Residence: interpreter Language:
[E] Unknown U - Unknown
ALIAS / AKA / NICKNAME / MONIKER:
Name Type: | First: Middle: Last: Sutfix:
Home Address, City, State, ZIP: Res, Country: Place of Birth: Undocumented:
Races: Sex; Date of Girth / Age: Height: Weight: Hair Coler: Eye Color Facial Hair: Complaxion:
x U 00
Reporting Officer Division / Organization Reviewed By
San Marcos Station
- - E, DANIEL
SH1118 - BUSWELL, JARROD SAN MARCOS PATROL SH2435 - DEESE,
Report Data Datactive Assigned Reviewed Dale
12/7/2015 9:49:00 AM $H2181 - CARTER, SCOTT 12/10/2015 12:11:P5 pcansnan
Printed: Decarmber 17, 2015 + 12:20 PM

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San Diego County Sheriff's Department
Crime/incideni Report

CAD EventNa: E3003758 ceseno. 15163154 9
Primary Victim:  [E] Ft. Consulting & Sales Inc. ReportNo. 15163154.1 Page 2016
Hair Style: Hair Length: Build: Teeth: Suspected User:
Emplayment Status: Occupation/Grade: Employar/Schook: Employer Address, City, State, ZIP:
CONTACT INFORMATION:
Type: Number/Address:
IDENTIFICATION:
Type: Number: Stata: Couniry:
SCARS, MARKS, TATTOOS, ODDITIES:
Attire: Suspect Actions:
1
[  WETNESSES ]
| OTHER ENTITIES |

Other Entity #1

Person Coda: {] Secured Premise

Discovered Crima

fx) Reporting Pany CJ

Law Enforcement Officer

Hams:
Ricotta, Lance Zane

Ently Type:
LOI - Legal Owner
- Individual

County Residence:

R - Resident

Person Code:

RP - Reporting Party

ALIAS / AKA / NICKNAME / MONIKER:

SH1118 - BUSWELL, JARROD

Nama Type: | First; | Middle: Last: Suffix
Home Address, City, Slate, ZIP: Ras. Country: Place of Binh: Undocumentad: interpreter Language
Po Box 72529, Yuma, AZ 85365 $s No
Race: Sax: Date of Birth / Age: Haight: Weight: Hair Color: Eye Color: Facial Halr: Complexion:
Ww M 07/03/1971 -43 | 6'0" | 785lbs_ | BRO BLU | 12 - None/Fuzz LGT - Light
Employment Status: Occupaticn/Grade: Employer/Schoot: Employer Address, City. State, Z/P:
Business :
E - Employed Owner R Consulting and Sales Inc. | Po 2840, San Marcos, CA 92079
CONTAGT INFORMATION:
Type: Number/Adaress:
MP - Mobile Phone 760 803-9985
TOENTIFICATION:
Type: Number: State: Country:
DLN - Drivers License B14536643 AZ US
Number
injury: Extent of Treatmant:
N - None 01 -None
Other Entity #2
Parson Code: [_]  Sacured Premise Discovered Crima (]__ Reporting Panty [) Law Enforcement Officer
Name: Entity Type: Parson Code: County Residence:
: : LO} - Legal Owner . R - Resident

Raquel Elizabet wey 06 - Other Lay Witness

Michel, Raquel Elizabeth - Individual y
ALIAS / AKA / NICKNAME / MONIKER:
Name Type: | First: | Middle: Last: Suffix:
Home Addrass, City, State, ZIP: Res. Country: Place of Birth: Undocumented: nterprater Language
Po Box 2840, San Marcos, CA 92079 US No
Race: Sax: Date of Binh / Age: Height Weight: Hait Color. Eye Color. Facial Rair: Complexion:
WwW F 05/01/1971 -43 | 5'7" 130 lbs | BRO HAZ 12 - None/Fuzz TAN - Tanned
Employment Status: OccupatiovGrade: Empioyer/Schoot: Employer Address, City, State, ZIP:
n :
E - Employed Business R Consulting and Sales Inc. | Po 2840, San Marcos, CA 92079
CONTACT INFORMATION:
Type: Number/Addrass:
MP - Mobile Phone 760 809-4566
IDENTIFICATION:

Type: Numbar: Stale: Country:
DLN - Drivers License A2209033 CA US
Number
Reporting Olticer Division / Organization Reviewed by

San Marcos Station

SAN MARCOS PATROL

SH2435 - DEESE, DANIEL

Report Date

12/7/2015 9:49:00 AM

Detective Assigned

$H2181 - CARTER, SCOTT

Reviewed Date

12/10/2015 12:11: fe onsoo1091

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Printed: December 17, 2015 - 12:20 PM

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° me TAF
San Diego County Sheriff's Department
Crime/incident Report
CAD EventNo: E3003758 caseNo, 15163154 3
Primary Victim: {E] R Consulting & Sales Inc. RepotNo. 15168154,1
Page 3 of 6
Injury: Exient of Treatmant:
N- None 01 - None
Other Entity #3
Parson Code: CO Securad Pramise oO Ofseavered Crime oO Reporting Party oO Law Enforcament Officer
Name; Entity Type: Person Cade: County Residence:
Ulloa, Pablo OT - Other 06 - Other Lay Witness
ALIAS / AKA/ NICKNAME / MONIKER:
Name Type: First: Middle: Last: Suttix:
Alias/AKA Pablo Gonzalez
Home Address, Cily, State, ZIP: Fes. Country: Place of Binh: Undocumented: interpreter Language
MX

Race: Sax: Data of Birth / Age: Height: Weight: Hair Calor: Eya Color. Facial Halr: Complexion:
H M
Empioymant Status: Occupation/Grade: Employe/Schoak: Employer Address, City, State, ZiP:
E - Employed Business Aviarrendamientos S.Ade | j.giana 141 Napoles, Mexico, DF 03810

Owner CV.

CONTACT INFORMATION:
Type: Numbar/Address:
MF - Mobile Phone 011521 552 338-7378
Type: Numbers/Address:
WP - Work Phone 01152 556 552-5942
Type: Numbar/Address:
WP - Work Phone 01152 555 652-3931
Tyas Nurnbar/Addrass:
EM - Email Address pgu@arm.aero
IDENTIFICATION:
Type: Number: State: Country:
Injury: Extant of Treatment:
N - None 01 - None
Other Entity #4
ParsonCode: [_] Secured Premise [] Discovered Crime C] Reporting Party Law Enforcement Officer
Name: Entity Type: Person Code: County Residence:
Weigman, Scott OT - Other R - Resident
ALIAS / AKA / NICKNAME / MONIKER:
Name Type! | First: Middle: Cast: | Suffix:
Home Address, City, State, ZIP: Res. Country: Place of Birth: Undocumented: interprater Language
US No
Race: | Sex Dale of Birth / Age: Height: Weight: Hair Color: Eye Color: Facial Nair: Complexton:
Ww M
Employment Status: Occupatiar/Grads: Employer/School: Employer Address, Cily, Slate, ZIP:
E - Employed Special Agent Security of Homeland 477 Michigan Ave, Room 1850, Detroit, MI 48226
CONTACT INFORMATION:
Type: Number/Address:
MP - Mobile Phone 313 530-1931
Type: Number/Address:
WP - Work Phone 313 226-0781
Type: Number/Address:
FX - Fax 313 226-0405
Typa: Number/Address:
EM - Email Address Michael.S.Weigman @ice.dhs.gov
IDENTIFICATION:

Type: Numbar. State: Gountry:
injury: Extent of Treatment:
Reporting Officer Division / Organization Reviewed By

SH1118 - BUSWELL, JARROD

San Marces Station
SAN MARCOS PATROL

SH2435 - DEESE, DANIEL

Rapart Date

12/7/2015 9:49:00 AM

Detective Assigned

SH2181 - CARTER, SCOTT

Reviewed Date

12/10/2015 12:11 ‘BE onsonin92

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Exhibit 16, page 3

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Case 3:17-cv-00171-LAB-BLM Document 19-5 Filed 06/15/18 PagelD.443 Page 52 of 54

San Diego County Sheriff's Department
Crime/incident Report

Cad EventNo: E3003758 caseNo. 45163154 4
Primary vicim: [FE] R Consulting & Sales Inc. ReportNo, 18163154.1 Pane 4of6
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Date:
Owner: Disposition: SHOO
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Search Warrant:
Notes:
| REPORT NARRATIVE, .
SYNOPSIS:

Lance Ricotta and Raquel Miche! own and operate R Consulting & Sales Inc, On 09/14/2014, they
contracted a plane to a Pablo Gonzalez Ulloa. Ulloa told Ricotta he was a contractor with the Mexican

Military out of Mexico City.

The plane was a G-1159A Gulfstream American Corp, tail number N388LR and worth approximately 1.3
million dollars. Ulloa told Ricotta the plane would be based in Toluca, Mexico. On 12/23/2014, the plane
left Toluca Mexico heading to Queretaro, Mexico, but never arrived. Ricotta received information the

plane was possibly in Venezuela.

ORIGIN:

On 12/07/2015, at about 0952 hours, | received a call to investigate a report of a theft at 182 Santar PI,
San Marcos (CAD: E3003758).

BACKGROUND:

None

INVESTIGATION:

| met the reporting party/victims, Lance Ricotta and Raquel Michel, at the San Marcos station. Ricotta
and Michel own and operate R Consulting & Sales Inc. R Consulting & Sales Inc. is listed as an Aircraft

Manufactures company. Ricotta provided me with the following statement:

STATEMENTS:

Statement of Lance Ricotta (Reporting Party/Victim):

Reporting Officer Division / Organization Reviewed By
San Marcos Station .
$H1118 - BUSWELL, JARROD SAN MARCOS PATROL SH2435 - DEESE, DANIEL
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Exhibit 16, page 4

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San Diego County Sheriff's Department
Grime/incident Report

CAD EventNo.; E3003758 caseNo. 15163154 5

Primary Victim: {E] R Consulting & Sales Inc. RoportNo. = 16163154.1 Page 5 of 6

Ricotta stated on 09/14/2014, he contracted a plane to a Pablo Gonzalez Ulloa. Ulloa told Ricotta he was
a contractor with the Mexican Military out of Mexico City. The plane was a G-1159A Gulfstream
American Corp, tail number N388LR and worth approximately 1.3 million dollars. Ulloa told Ricotta the
plane would be based in Toluca, Mexico.

Ricotta told me on 09/15/2015, he became suspicious because he was not receiving any payments from
Ulloa for the plane. Ricotta contacted the Direction General of Civil Aeronautics (DGCA). The DGCA is
an agency of the Secretariat of Communications and Transportation of Mexico. The DGCA told Ricotta
on 12/23/2014, the plane left Toluca, Mexico, and was heading to Queretaro, Mexico. The DGCA told
Ricotta the pilot, in midflight, contacted the Mexico Center and changed the plane's destination to
Cancun, Mexico. The DGCA told Ricotta this was the last communication they had with the plane and
they lost all communications and tracking with the plane after the pilot's last radio transmission. The
plane never arrived at Cancun.

Ricotta told me he contacted the FBI, but they were unable to help him. Ricotta then contacted Scott
Weigman with the Homeland Security Department. Weigman told Ricotta he contacted his liaisons in
Mexico, Weigman told Ricotta he received information the plane was possibly in Venezuela and the
plane was destroyed. Weigman advised Ricotta to file a police report with his local agency. Ricotta also
contacted his insurance company, Old Republic Aerospace/Old Republic Insurance Group and they told

Ricotta to file a police report.

Ricotta told me he has an office in San Marcos, PO Box 2840, San Marcos. The plane is registered to R
Consulting & Sales Inc. and is registered in Nevada at 318 N Carson St Suite 208, in the city of Carson

City, Nevada. Ricotta told me the plane was stored at the Brown Field Municipal Airport located at 1424
Continental St, San Diego, before he contracted the plane out to Ulloa.

INVESTIGATION CONTINUED:

Ricotta provided me with copies of the documents for the business and plane. | later placed the
documents into evidence at the San Marcos and attached the documents to this case.

| contacted Scott Weigman with the Department of Homeland Security, Narcotics & Contraband
Smuggling Group. Weigman told me he is familiar with Ricotta's situation. Weigman told me Ricotta has
a history of aviation incidents with planes and cartels. Weigman told me he spoke with his contacts in
Venezuela. They possibly located a damaged or destroyed plane in Apure, Venezuela, that could be

Ricotta's plane.

| then spoke with Detective Roos #2293 with the Sheriff Department Criminal Intelligence Detail. Due to
the unusual circumstances surrounding this incident, Deputy Roos advised me to write a Deputy's Report

and have the case forwarded to his department.

EVIDENCE
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San Marcos Station
SH1118 - BUSWELL, JARROD SAN MARCOS PATROL SH2435 - DEESE, DANIEL
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San Diego County Shariff's Department
Crime/incident Report

CAD Event No: 9003758 caseNe. 15163154 6

Primary Vieim: = [E] R Consulting & Sales Inc. RepotNo, 151639154.1 a

1. Copies of documents

PROPERTY DAMAGE:

None

INJURIES:

None

FOLLOW UP:

To be determined by assigned investigator

RELATED REPORTS:

None
Reporting Officer Division / Organization Reviewed By
San Marcos Station
$H1118 - BUSWELL, JARROD SAN MARCOS PATROL SH2435 - DEESE, DANIEL
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